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     2                UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TEXAS
                           BEAUMONT DIVISION



    Bruce Cohn,


                  Plaintiff,                  Case No. 1:24-cv-00337


          v.


    Anna Popescu, TrustHFTwallet.com,         Declaration of Evan Cole
    and John Does 1 – 20,


                  Defendants.



         I, Evan Cole, state and swear as follows.

         I.     Introduction

         1.     My name is Evan Cole. I am of sound mind and capable of

   making this Declaration. I have personal knowledge of the facts stated herein.

         2.     I am the founder of Digital Investigations, LLC. I am experi-

   enced in blockchain investigations and am knowledgeable about the pig-

   butchering scam epidemic and the tactics of cybercriminals like the Defend-

   ants in this case. I hold the Chainalysis Cryptocurrency Fundamentals and

   the Chainalysis Reactor Certifications.

         3.     Bruce Cohn has retained my firm to provide blockchain analysis

   and expert-witness services. I am submitting this Declaration in support of

   Mr. Cohn’s Motion for Preliminary Injunction (the “Motion”).

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         II.    Pig-Butchering Scams

         4.     Attachment A to this Declaration is a true and correct preprint

   of a forthcoming academic article titled Deconstructing a Form of Hybrid

   Investment Fraud: Examining ‘Pig Butchering’ in the United States (hereafter

   “Examining Pig Butchering”), which will be published in the Journal of

   Economic Criminology in September 2024.1

         5.     Examining Pig Butchering aims to situate pig-butchering scams

   within the broader typology of cyber-enabled fraud. It does so by reviewing

   the “tactics, tools, and methods of operation” on display in a database of more

   than 1,300 news articles and court documents compiled by the authors. The

   result is what I believe to be the most comprehensive academic study of the

   pig-butchering epidemic to date.

         6.     Pig-butchering scams have distinctive characteristics. Any

   experienced investigator can spot one immediately. Nevertheless, the

   typology set out in Examining Pig Butchering is crucial. By compiling and

   analyzing an enormous trove of reported cases, the authors have provided a

   framework for objectively determining whether a pig-butchering scam is at

   issue in a given case.

         7.     To make such a determination here, I first Mr. Cohn’s

   declaration submitted in support of the Motion. I then compared the evidence



         1 Marie-Helen Maras, Emily R. Ives, Deconstructing a Form of Hybrid

   Investment Fraud: Examining ‘Pig Butchering’ in the United States, JOURNAL
   OF ECONOMIC CRIMINOLOGY, Volume 5 (forthcoming Sep. 2024).

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   provided by Mr. Cohn to the paradigm that emerges from Examining Pig

   Butchering. The results are as follows.

         8.     Initial   Contact.   Mr.     Cohn’s   initial   contact   with   the

   TrustHFTwallet scam was through a dating website, where she presented

   herself as a well-heeled and successful businesswoman and investor.2

   Examining Pig Butchering confirms that pig-butchering victims’ first contact

   with perpetrators is often through social-media platforms, and that

   perpetrators frequently “display wealth” that is “purportedly made possible

   by their investments in securities or commodities.”3

         9.     Cultivating the Relationship. After contacting Mr. Cohn on the

   dating website, Popescu asked they continue their conversation on

   WhatsApp.4 There, she told Mr. Cohn that she had been trading and investing

   in crypto for six years, and offered to “teach [him] how to make money in the

   short-term Bitcoin market.”5

         10.    Comparing these facts with Examining Pig Butchering, we see

   again that Mr. Cohn’s experience matches the paradigm precisely. Pig-

   butcherers consistently begin their relationship with victims by leaving

   behind the social-media platform or dating app where initial contact was



         2 Declaration of Bruce Cohn (henceforth, “Cohn Decl.”), at ¶¶ 3 – 4.

         3   Examining Pig Butchering (henceforth, “EPB”), at p.9 (describing
   initial contact methods), p. 10 (describing displays of wealth).
         4 Cohn Decl., Att. A, passim.

         5 Cohn Decl. Att. A, at COHN0025.


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   made, moving their discussions to secure messaging apps like WhatsApp,

   Skype, or Telegram.6 And they frequently offer to act as teachers, promising

   to impart their insider crypto-trading knowledge to their victims, going to

   great lengths to establish their purported expertise and qualifications.7

         11.    Securing the ‘Investment.’ Popescu presented herself as an

   expert in making profits using a particular crypto-trading platform:

   TrustHFTwallet.8 She walked Mr. Cohn through the process of creating or

   funding hiw own accounts at legitimate cryptocurrency exchanges,

   purchasing cryptocurrency with U.S. dollars using those exchange accounts,

   making a TrustHFTwallet account, and then transferring those his assets to

   deposit addresses provided by TrustHFTwallet.9




         6 EPB, at p.9 (“Following initial contact, most cases in our dataset

   revealed that offenders encouraged communications to continue off social
   media [platforms] … to other messaging platforms (e.g., WhatsApp, WeChat,
   Line, Skype, and Telegram.”).
         7 EPB, at p.10 (“In this stage, the offender turns conversations towards

   investments. The offender then discusses expertise and/or prior success with
   investments. The goal of these conversations is to introduce the target to a
   lucrative investment opportunity, and then entice them to invest (which is
   the next stage).”), p.11 (noting that, in the studied cases, “[a] comfort level
   was established investing to encourage victims to invest more over time … by
   offenders offering to teach victims how to trade.”).
         8 Cohn Decl., Att. A, at COHN0022 (Popescu introducing Mr. Cohn to

   TrustHFTwallet for the first time).
         9 See, e.g., Cohn Decl., Att. A, at COHN0025-75 (Popescu walking Mr.

   Cohn through each step of creating and funding TrustHFTwallet account).

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         12.      When Mr. Cohn transferred assets to TrustHFTwallet, his

   “account balance” on the platform would grow accordingly.10 He could then

   watch in real time as his profits grew.11 This growth inspired confidence,

   which Popescu exploited to induce him to make ever-larger deposits. His

   ‘balance’ eventually reached $5,191,779.30.12

         13.      Again, this trajectory is as expected. Pig-butcherers commonly

   present themselves as having insider knowledge about how to make profits

   using a particular platform, to which they direct their victims.13 They then

   walk victims through the process of transferring assets to deposit addresses

   controlled by that platform, continuing to act as a ‘teacher’ along the way.14

   And once the assets are ‘deposited,’ the fake trading platform appears—from




         10 Cohn Decl., Att. D, at COHN0345-0365 (showing transactions with

   TrustHFTwallet).
         11 Cohn Decl., Att. D, at COHN0379 (showing balance of more than

   $5,000,000.00)
         12 Id.

         13 EPB, p.11 (noting that typical “confidence building” tactics include

   “feigning insider knowledge of and connections to investment platforms”).
         14  EPB, p. 10 (“[O]ffenders encouraged victims to purchase
   cryptocurrencies, such as Binance Coin (BNB), Bitcoin (BTC), USD Coin
   (USDC), Tether (USDT), and Ethereum, and deposit them into accounts,
   apps, and/or online platforms, controlled by the offender(s) and/or
   associates.”), p. 12 (noting that in most cases “victims were directed to
   legitimate cryptocurrency exchanges … to create a cryptocurrency account,
   and then directed to investment apps and platforms controlled by the
   offenders”).

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   the victim’s perspective—to work as intended.15 The ‘deposits’ are reflected,

   the ‘trades’ are executed, and the ‘profits’ rapidly increase.16

         14.      Blocking the Exits. Mr. Cohn was able to withdraw nearly

   $100,000.00 of crypto assets from the TrustHFTwallet platform.17 But, in

   mid-July, he tried to make larger withdrawals of approximately $50,000.00

   worth of crypto assets at a time.18 He was repeatedly blocked from doing so.

   TrustHFTwallet ‘support’ told Mr. Cohn that his account had withdrawal

   restrictions, such that he could only withdraw more assets if he “upgraded”

   to the “VIP2 Level.”19 He was told that this would require my account to have

   a value of $10 million.20

         15.      Through to the scams’ denouement, Mr. Cohn’s experience

   continued to match the pig-butchering pattern. The fact that Mr. Cohn was

   able to make nearly $100,00.00 worth of withdrawals confirms that he

   experienced one of the pig-butchering scammers’ most sophisticated

   strategies: allowing some withdrawals, near the beginning of the scam, to

   cement the victim’s trust in the platform. Examining Pig Butchering

   discusses this tactic in detail, noting that allowing these early withdrawals


         15 EPB, p. 11 (noting that “perpetrators often falsely depict invested

   funds increasing on fake online platforms and apps”).
         16 Ibid.

         17 Cohn Decl., ¶ 7.

         18 Cohn Decl., ¶ 8.

         19 Cohn Decl, Att. E, COHN0395-0397.

         20 Id.


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   “alleviate[s] [victims’] concerns and serve[s] as proof of the app and/or

   platform’s legitimacy.”21

         16.    Eventually, however, the scammers’ willingness to allow early

   withdrawals runs out. After this point, pig-butchering scams’ most consistent

   feature is how they end: with purported customer-service issues and endless

   requests for enormous fees.22 Just as in Mr. Cohn’s case, victims are often told

   that “security issues” have caused their accounts to be flagged—but that they

   can smoothe the process by increasing their account balance even further.23

   Victims’ frantic research, at this stage, usually leads them to discover that

   they have been the victim of this new type of cyber-scam.24

         17.    Conclusion. The characteristics of pig-butchering scams are

   sufficiently distinctive that experienced investigators can recognize them

   immediately, as I did in this case. There is no doubt that TrustHFTwallet is


         21 EPB, p.11 (“In several cases in our dataset, victims could withdraw

   some of their deposited funds from their investments, at least initially. In
   another case, one victim mentioned that in order to test his control over funds
   he invested (and to check the legitimacy of the platform), he withdrew money
   and then deposited it again in his ‘investment’ account. To this victim and
   others in our dataset, the success of this test (or tests, as certain victims were
   able to make more than one withdrawal) alleviated concerns and served as
   proof of the app and/or platform’s legitimacy.”).
         22 EPB,   p.14 (noting that victims realized they were the victims of
   scams after being asked to pay “risk deposit fees,” requests that they pay
   “taxes,” or other “excuses … as to why payment of funds could not be made”).
         23 EPB, p.11 (describing perpetrators’ practice of creating “fake
   supporting documentation” to “establish legitimacy of false narratives”).
         24 EPD, p.13 (describing common situation in which, after receiving

   demands for payment of various fees and taxes, victims “conduct research”
   and realize they have been the victim of a pig-butchering scam).

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   a fraudulent platform and that Mr. Cohn was the victim of a pig-butchering

   scam perpetrated by the Defendants.

                A.     Pig-Butchering Perpetrators

         18.    Examining Pig Butchering also helpfully collects information

   about the identities, locations, and organizational structures of pig-

   butchering perpetrators.25 These perpetrators are known to “force[] trafficked

   victims to conduct” pig-butchering scams in “Cambodia, Laos, Thailand, and

   Malaysia,” where the pig-butchering business model originated.26

         19.    The authors’ dataset further “revealed organized criminal

   groups operating in concert to commit” pig-butchering scams.27 These groups

   are divided into various units, each responsible for a distinct aspect of the

   operation of the scams. Specifically, these units took on roles as (i) solicitors,

   (ii) trading firms, and (iii) shell companies.28 The “solicitors” contact victims,

   form relationships, and ultimately act as guides to' investing' in the

   fraudulent platform.29 The “trading firms” take on the significant

   technological challenge of ensuring that the fake platform operates with




         25 Much of the information recounted here has been previously revealed

   by law-enforcement agencies and investigative journalists, as reflected in the
   attachments to my prior Declaration.
         26 EPB, p.8 (describing geographic dispersion of pig-butchering
   organizations).
         27 EPB, p.8 (setting out examples showing “syndicate” structures).

         28 Ibid.

         29 Ibid.


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   sufficient verisimilitude to deceive victims.30 And the “shell companies” take

   on the task of opening and maintaining the web of deposit addresses and

   financial accounts used to receive, launder, and hide victims’ assets.31

         20.    Finally, Examining Pig Butchering also finds that pig-

   butchering perpetrators utilize standard methods for laundering and

   obfuscating stolen assets. The proceeds of pig-butchering scams are typically

   “commingled and deposited into numerous accounts,” or “rapidly transferred

   into and out of multiple intermediary wallet addresses,” or “convert[ed] from

   one form of cryptocurrency to another.”32 These practices are designed to

   “make it harder to trace stolen cryptocurrency,” making it “more difficult to

   identify, investigate, and prosecute them.”33

                B.     The Scale & Impact of Pig-Butchering Scams

         21.    Attachment B to this Declaration is a true and correct copy of a

   CNN article titled Killed By a Scam: A Father Took His Life After Losing His

   Savings to International Gangs – [and] He’s Not the Only One, published on

   June 17, 2024.

         22.    This article first describes the tragic story of a father who took

   his own life after realizing that he had lost his life savings to a pig-butchering




         30 Ibid.

         31 Ibid.

         32 EPB, p.13 (describing laundering and obfuscation tactics).

         33 Ibid.


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    scam.34 It then discusses the shocking scale of the pig-butchering epidemic,

    noting that “[i]t’s theft at a scale so large that investigators are now calling it

    a mass transfer of wealth from middle-class Americans to criminal gangs.”35

    The article quotes an FBI estimate that in 2023 alone, pig-butchering scams

    stole nearly $4 billion from tens of thousands of American victims.36 Finally,

    the writer quotes Erin West—a California prosecutor leading numerous

    criminal cases against pig-butchering scammers—who captures the uniquely

    tortuous nature of pig-butchering cases. To wit:

           I’ve been a prosecutor for over 25 years, [and] I’ve done all kinds
           of different types of crime. I spent nine years in sexual assault.
           And I’ve never seen the absolute decimation of people that I’ve
           seen as a result of pig butchering.37

           23.    Everything in Killed by a Scam is consistent with my

    professional experience investigating pig-butchering cases.

           III.   Cryptocurrency Transactions

           24.    It is very easy to move cryptocurrencies on the blockchain.

    Crypto assets can be moved in seconds from address to address or exchange

    to exchange. And, as confirmed in Explaining Pig Butchering, this is precisely

    what the pig-butcherers do to cover their tracks and place the assets they

    have stolen beyond reach.38 Based on my experience, if the Target Accounts


           34 Att. B, pp. 1-2.

           35 Att. B, p. 3.

           36 Att. B, p.3.

           37 Att. B, p.3.

           38 Att. A, p.13 (describing typical crypto-laundering tactics).


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    do not continue to be frozen, it is likely that those assets will be further

    dissipated, which would prevent Mr. Cohn from recovering the assets stolen

    from him, thereby causing significant and irreparable harm.

                        [SIGNATURE PAGE FOLLOWS]




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                                VERIFICATION

          I, Evan Cole, hereby verify and declare under penalty of perjury

    that the foregoing is true and correct.




                                               __________________________
                                               Evan Cole


                                               Dated: 9/6/24




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Deconstructing a form of hybrid investment fraud: Examining
‘pig butchering’ in the United States☆                                                                                                                                 ]]
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                                  ⁎

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A R T I C L E      I N F O                                  A B S T R A C T


Keywords:                                                   Cyber-enabled fraud has transformed, becoming more complex and making it harder for targets and law en-
Pig butchering                                              forcement to detect its occurrence. This study aims to recontextualize a major manifestation of this transfor-
Hybrid investment fraud                                     mation, a crime called hybrid investment fraud, colloquially known as pig butchering. Hybrid investment fraud
Cryptocurrency                                              describes a cyber-enabled fraud whereby criminals gain the trust of victims by forming connections and re-
Cyber-enabled crime
                                                            lationships, and then exploit this trust by using a series of confidence building and coercive measures designed to
Cyber-enabled fraud
                                                            encourage victims to continuously invest in securities or commodities until they become unable or unwilling to
                                                            continue to make payments or the offenders become unreachable. This study further aims to address the existing
                                                            knowledge gap by focusing on understudied elements of this fraud, such victim and offender characteristics and
                                                            the ways hybrid investment fraud is perpetrated. To achieve this, we conducted an in-depth analysis of more
                                                            than 1,300 news articles and court documents between January 1, 2018, and November 1, 2023, to identify 59
                                                            cases of hybrid investment fraud targeting victims in the United States. This article both situates hybrid in-
                                                            vestment fraud within the broader fraud literature and conducts a comprehensive of analysis of hybrid invest-
                                                            ment fraud cases to identify the types of hybrid investment fraud committed, their impact, victim and offender
                                                            demographics, and offenders’ tactics, tools, and methods of operation. The findings from this study can inform
                                                            criminal justice practices and future research of this fraud.




1. Introduction
                                                                                                      resemble[s] the practice of fattening a hog before slaughter. The
                                                                                                      victims in this situation are referred to as ‘pigs’ by the …[offenders]
    Online deceptive practices are perpetrated for various reasons. As
                                                                                                      who leverage fictitious identities, the guise of potential relation-
Levine et al. (2010) identified in their study on deception, “people lie
                                                                                                      ships, and elaborate storylines to ‘fatten up’ the victim into believing
for a reason” (p. 272). While lying is not illegal, lies could strategically
                                                                                                      they are in trusted partnerships. The …[offenders] then refer to
be used to facilitate the commission of a crime. The deceptive tactics
                                                                                                      ‘butchering’ or ‘slaughtering’ the victim after victim assets are
used online are strategically designed with particular ends in mind,
                                                                                                      stolen, causing the victims financial and emotional harm (FinCEN,
often, but not exclusively, financial in nature.
                                                                                                      2022, p. 1).
    Countries all over the world have experienced cyber-enabled fraud,
which involves the use of information and communication technology                                  While the term itself is not new in the country in which it originated
(ICT) to engage in illegal acts that result in a loss of property. A rela-                       – China (the term in Chinese is Shā Zhū Pán), it has recently become
tively new term that has been used to describe a specific form of cyber-                         used with more frequency in U.S. news reports, court documents, and
enabled fraud in the United States is ‘pig butchering.’ According to the                         government publications. There is currently a dearth in academic lit-
Financial Crimes Enforcement Network (hereafter FinCEN), this fraud                              erature studying this form of fraud, especially in the United States. This



 ☆
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by-nc-nd/4.0/).
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research seeks to fill this gap by engaging in an exploratory study of pig        the confidentiality, integrity and availability of computer data or sys-
butchering incidents in the United States. Specifically, this article first       tems” (i.e., cyber-dependent crime); “computer-related acts for per-
situates the cyber-enabled fraud of pig butchering in the broader aca-            sonal or financial gain or harm” (i.e., cybercrime committed “for per-
demic literature on fraud. It then conducts an in-depth analysis of court         sonal or financial gain or harm” (UNODC, 2013, p. 16); and “computer-
documents and new articles to identify the elements of this fraud, im-            content related acts” (i.e., cybercrime that “involve[s] illegal content”;
pact of the fraud, victim and offender characteristics, and tactics, tools,       UNODC, 2019) (see also UNODC, 2013). The latter two categories of
and methods of operation of offenders. The motivating research ques-              cybercrime are considered subcategories of cyber-enabled crime.
tions for this analysis are: Who are the offenders and targets in pig                 By contrast, Wall (2007) proposed three categories of cybercrime:
butchering? Is pig butchering committed by lone actors, dyads, or by              computer integrity crime (which encompasses cyber-dependent crime,
organized criminal groups? What are offenders’ tactics, tools, areas of           such as hacking and distributed denial of service attacks); computer
operation, and modus operandi? The findings can be used to inform                 associated crime (covering cyber-enabled crime, such as cyber theft);
criminal justice practices and future research.                                   and computer content crime (covering cyber-enabled crime, such as child
                                                                                  sexual abuse material). The latter two categories are similar to the
2. Fraud literature                                                               subcategories of cyber-enabled crime that UNODC used in 2013,
                                                                                  “computer-related acts for personal or financial gain or harm” and
    Fraud is a crime that involves the use of tactics designed to mis-            “computer-content related acts,” respectively (UNODC, 2013; see also
represent facts with the intention of persuading targets to provide of-           UNODC, 2019). In his later work, Wall (2015) identified cybercrimes as
fenders with something that is considered of value to the offenders.              occurring over a spectrum, with cyber-dependent crimes on one end of
Fraud that involves the use of ICT to enhance and/or facilitate a fraud is        the spectrum and cyber-assisted crimes (i.e., crimes whereby ICT plays
known as cyber-enabled fraud. Offenders who engage in cyber-enabled               an incidental or ancillary role in the crime) on the other end of the
fraud adopt various online personas, identities, and backstories to               spectrum. Between these two ends of the continuum are a range of
target individuals across demographics (Button and Cross, 2017).                  cyber-enabled crimes (e.g., various forms of cyber-enabled fraud). In
Frauds, including cyber-enabled frauds (i.e., frauds facilitated and en-          this work, he rightly pointed out that these categories merely described
hanced by ICT) have evolved over the years, particularly perpetrators’            the “level of mediation of technology” and further differentiation was
tactics, targets, and methods of operation.                                       needed to identify the method of operation (modus operandi or M.O.) of
                                                                                  offenders (Wall, 2015). For this reason, he identified the need to dis-
2.1. Cyber-enabled fraud                                                          tinguish between crimes against the machine (i.e., cyber-dependent
                                                                                  crimes), crimes using the machine (i.e., cyber-enabled crimes consisting
    Cybercrime is frequently defined by taxonomies aimed at identi-               of “computer-related acts for personal or financial gain or harm”), and
fying and distinguishing features of crimes targeting and/or committed            crimes in the machine (i.e., cyber-enabled crimes that are “computer-
using ICT. There is no universal definition of cybercrime and no uni-             content related acts”). Wall (2015) further noted that beyond the con-
versally accepted taxonomy. Various definitions and typologies have               sideration of the M.O. of offenders, the victim group (i.e., nation state,
been proposed (for a detailed review and critique of these typologies,            business, or individual) targeted by the cybercrime needs to be con-
see Sarkar and Shukla, 2023). Due to the breadth of crimes considered             sidered as well.
as cybercrime, Gordon and Ford (2006) proposed a continuum of cy-                     Echoing Wall’s (2015) sentiment for the need to create a more ro-
bercrime, whereby on one end, crimes only have peripheral technolo-               bust typology that moves beyond the role of ICT in crime, the devel-
gical aspects, and on the other end, crimes are entirely or “almost en-           opment of cybercrime classifications based on offender motivation and
tirely technological in nature” (p. 3). Gordon and Ford (2006) divided            intent have been proposed by various scholars who criticized Gordon
cybercrime into two types - Type I and Type II. Type I includes cy-               and Ford’s (2006) and McGuire and Dowling’s (2013) cybercrime ca-
bercrimes such as “phishing attempts, theft or manipulation of data or            tegories as employing “arbitrary attributes” (Lazarus et al., 2022, p.
services via hacking or viruses, identity theft, and bank or e-commerce           384) and “obscur[ing] the meaning of each cybercrime they represent”
fraud based upon stolen credentials,” among others (Gordon and Ford,              (Lazarus, 2019, p. 18, citing Ibrahim, 2016). To better understand the
2006, p. 2). Type II includes cybercrimes like “cyberstalking and har-            underpinnings and context of specific cybercrimes, which Lazarus
assment, child predation, extortion, blackmail, stock market manip-               (2019) argues serve as “a resource in understanding connections be-
ulation, complex corporate espionage, and planning or carrying out                tween gender and” cybercrime (p.19, citing Citron, 2014; Jane,
terrorist activities online” (Gordon and Ford, 2006, pp. 2–3).                    2016; Lazarus and Okolorie, 2019), the Tripartite Cybercrime Frame-
    McGuire and Dowling (2013) view cybercrime as an “umbrella                    work (TCF) was created by Ibrahim (2016). This framework takes into
term” that includes cybercrimes that fall under two overarching cate-             consideration offender motivation that categorizes cybercrime into
gories: cyber-dependent crime and cyber-enabled crime (p. 5). Cyber-              (Lazarus et al., 2022, pp. 385–386):
dependent crime includes crimes that target “the confidentiality, in-
tegrity, and availability of systems, networks, and data that would not            • socioeconomic cybercrime (i.e., “the computer or/and Internet-medi-
be possible without the use of technology” (Maras, 2024, p. 9). Cyber-               ated acquisition of financial benefits by false pretense, impersona-
enabled crime is a term used to describe crime that is typically perpe-              tion, manipulation, counterfeiting, forgery, or any other fraudulent
trated in the physical world but is enhanced by “technological in-                   representation of facts such as online fraud”);
tegration” and facilitated by technology (Sarkar and Shukla, 2023).                • psychological cybercrime (i.e., “digital crimes that are primarily psy-
McGuire and Dowling’s (2013) categorization of cybercrime, which is                  chologically driven to cause shock, distress or harm to a person,
based on the role of technology in crime, is most widely used. Europol               where monetary gain is not the primary objective,” such as cyber-
(2018), Interpol (see Cross et al., 2021), and other national, regional,             stalking, cyberharassment, and cyberbullying); and
and international agencies and organizations commonly use these terms              • geopolitical cybercrime (i.e., “cybercrimes that are fundamentally
to broadly describe the acts of cybercrime based on whether the                      political in nature and involve agents of the state…and/or their
criminal acts would not have been possible without the advent of ICT                 representatives engaged in acts;” for example, cyberespionage).
(cyber-dependent crime) and whether the criminal acts represent tradi-
tional crimes that are enhanced and facilitated by ICT (cyber-enabled                Ibrahim (2016) acknowledged that specific types of cybercrime
crime). The United Nations Office on Drugs and Crime (UNODC) also                 could fit into two or three of the above-mentioned categories. Other
uses these cybercrime categories in documents (e.g., UNODC, 2022)                 scholars also acknowledge that the “apparent boundaries between the
and has used alternative categories of cybercrime, such as “acts against          TCF categories are somewhat blurred” and thus the framework can be

                                                                              2
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viewed “as a loose grouping of cybercrime types” (Lazarus et al., 2022,           Investment frauds are defined as “[d]eceptive practice[s] that induce…
p. 393). For example, image-based sexual abuse perpetrated using ar-              investors to make purchases based on false information. These …
tificial intelligence (AI) manipulated media (e.g., deepfakes) can be             [frauds] usually offer the victims large returns with minimal risk” (IC3,
perpetrated for a myriad of reasons, including personal, social, eco-             2021, p. 31). These investments involve a range of commodities and
nomic, and political reasons. The same holds true for fraud. The mo-              securities. Several terms have been used to describe the convergence
tivations for fraud vary by fraud type and offender. Even romance                 between romance fraud and cryptocurrency investment fraud, in-
frauds, which have been predominantly associated with economic                    cluding pig butchering, cryptorom, and romance baiting.
motivations in the literature, could be primarily psychologically moti-
vated (e.g., catfishing where offenders primarily seek to form emotional          2.3. Pig butchering
bonds with others under false pretenses; not driven by monetary rea-
sons) or geopolitically motivated (e.g., targeting politicians to impact              The range of frauds that are considered pig butchering vary by de-
elections; Michaelson, 2023). Like the aforementioned examples, hy-               finition and origination. China, where the term pig butchering origi-
brid frauds, which combine one or more types of frauds, do not ne-                nated, considers it (Shā Zhū Pán) as
cessarily fit neatly into one of these categories, unless the offenders are
                                                                                     a form of online fraud, in which scammers gain the trust of victims
motivated for the same reasons (i.e., socio-economic, psychological or
                                                                                     through making friends and dating online. Through gaining victims’
geopolitical).
                                                                                     trust, scammers then wait for the opportunity to pull victims into
    Fraud, like cybercrime, is an umbrella term that encompasses nu-
                                                                                     scams such as gambling or financial management to defraud their
merous forms of illicit activities committed for a myriad of reasons
                                                                                     money. The biggest feature of Shā Zhū Pán is to cast a long-term plan
against various victim groups. For this reason, to better understand pig
                                                                                     for a major return. This process is like fattening pigs and then
butchering, we situate this cyber-enabled fraud in existing fraud lit-
                                                                                     slaughtering them (China News, 2019, cited in Wang and Zhou,
erature.
                                                                                     2023, p. 915).
2.2. Fraud taxonomy                                                                   This definition was broader than the types of fraud identified in the
                                                                                  2021 Internet Crime Complaint Center (IC3) Annual Report as pig
    The fraud taxonomy that is used to identify and classify fraud was            butchering. This report identified the incidents where victims reported
created in 2015. This typology, developed by the Financial Fraud                  being subjected to cryptocurrency fraud and ‘confidence/romance
Research Center at the Stanford Center for Longevity and the Financial            scams’ as pig butchering (IC3, 2021).
Industry Regulatory Authority (FINRA) Investor Education Foundation,                  Other definitions also view pig butchering as involving the convergence
classified fraud based on three elements (Beals et al., 2015). First, fraud       of romance fraud and investment fraud, such as cryptorom and romance
is classified based on the target of the fraud: individual or organization.       baiting. The term cryptorom “is an amalgamation of crypto- from ‘crypto-
The fraud taxonomy only focuses on frauds committed against in-                   currency’ and -rom from ‘romance scam’ (Ducklin, 2021; see also
dividuals. The second element of the taxonomy is expected benefit/                Chandriaiah and Wu, 2021)” (Cross, 2023, p. 5). In Australia, the term
outcome (i.e., the fraud category). Particularly, fraud committed                 “romance baiting” is used to describe frauds that involve the convergence of
against individuals is subdivided into several general categories of              romance fraud and investment fraud (Cross, 2023; Australian Competition
fraud: consumer investment fraud; consumer products and services                  and Consumer Commission, 2023). The Australian Competition and
fraud; employment fraud; prize and grant fraud; phantom debt collec-              Consumer Commission’s (2023) definition of romance baiting describes it as
tion fraud; charity fraud; and relationship and trust fraud (Beals et al.,        originating from contact via online dating apps. According to their defini-
2015). These general categories of fraud are further subdivided by the            tion, the offender “initially contacts a victim via a dating app, then quickly
specific type of fraudulent item/transaction/relationship (i.e., the type         moves the conversation to an encrypted chat site. After a few weeks of
of fraud). According to Beals et al. (2015), the seven general categories         developing a relationship, the scammer will begin asking about the victim’s
of fraud are considered “comprehensive and mutually exclusive, such               finances and encourage them to participate in an investment opportunity”
that all possible examples of individual financial fraud committed                (p. 32). However, hybrid romance fraud and investment frauds can origi-
against persons … should fall into one and only one of the …seven                 nate outside of online dating apps. In fact, offenders look for and/or contact
categories” (p. 11).                                                              targets on social media platforms (Facebook/Meta, Instagram), professional
    However, hybrid frauds do not fit neatly into one of the existing             networking sites (e.g., LinkedIn), dating sites (e.g., Hinge, Tinder, and
categories included in the fraud typology. One such hybrid fraud in-              OurTime), and communication platforms (e.g., WhatsApp, Telegram, and
volves the convergence of romance fraud and investment fraud.                     WeChat) (Access Wire, 2022; GASO, 2021b; FinCEN, 2023), as well as send
Romance fraud is a form of fraud where offenders foster online re-                unsolicited calls and/or text messages (SMS) to targets (see Image 1).
lationships with victims “for the purpose of deceiving unsuspecting                   Targets may also be invited or added to groups and/or sent group
victims to extort money from them” (Coluccia et al., 2020, p. 25 cited in         messages on social media and communication platforms (GASO, 2021c)
Cross, 2023, p. 2). Romance fraud, a subcategory of relationship and              (see Image 2 for an example of a group chat invite). GASO (2021c)
trust fraud that exploits a personal relationship with the target, has the
expected outcome of creating a fake relationship with the target and
exploiting this relationship (Beals et al., 2015). Offenders perpetrating
romance fraud create fake online personas or profiles (complete with
fake image and fraudulent personal narratives) and identify targets to
engage in a tactic known as ‘catfishing,’ whereby offenders prey on
targets’ desire for emotional connections and companionship (Whitty
and Buchanan, 2016; Buchanan and Whitty, 2013), and lure them into
fake relationships (Maras, 2017). The goal is often – but not always – to
obtain something of value from targets (value, however, is determined
by the offenders on an individual basis). In the United States, the for-
ging of online romantic relationships is increasingly common
(Wiederhold, 2020), which exposes individuals to various forms of ro-
mance fraud. Exposure to investment fraud is also quite common in the
U.S. (Fletcher and Consumer Protection Data Spotlight, 2023).                                 Image 1. Unsolicited text messages. Source: Authors.

                                                                              3
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                                                                                Table 2
                                                                                Financial Losses for Confidence Fraud/Romance Fraud and Investment Fraud
                                                                                Reported to IC3 (2020–2022).

                                                                                                          2022              2021                2020

                                                                                 Confidence/Romance       $735,882,192      $956,039,739        $600,249,821
                  Image 2. Group chat invite. Source: Authors.
                                                                                 Investment               $3,311,742,206    $1,455,943,193      $336,469,000

                                                                                Source: IC3 (2022).
explained how frauds via group chat worked, where a fraudulent ‘in-
vestment lecturer,’ who claimed to be teaching those in the group chat
how to invest effectively, engaged with victims in group chats. This            and maximum financial loss of the 40 victims identified from their
‘instructor’ used hybrid investment fraud tactics, with the added false         online testimonials at an estimated maximum of $410,000 USD and an
sense of security of being in a group setting, to encourage investments         approximate minimum loss of $714 USD, and the four victims identified
under the guise of providing professional advice (GASO, 2021c).                 from police reports at a minimum of an estimated $1500 USD and a
Usually, the purpose of these groups is to place targets in an environ-         maximum of approximately $15,000 USD. GASO’s (2022) survey re-
ment that promotes offenders’ cryptocurrency investments. The offen-            vealed an average loss of $155,117 USD experienced by victims inter-
ders may even have multiple numbers, run multiple accounts, and/or              nationally (this amount excludes 38 cases where victims reported a
have accomplices who answer targets’ questions and falsely claim to             fraud loss under $2,500 USD) and average fraud loss experienced by
have positive experiences with the promoted cryptocurrency invest-              surveyed victims from the United States was $210,760 USD. GASO’s
ment. These group chats are designed to be environments that make               (2022) survey results further revealed that over 75% of victims in their
targets feel more at ease since they are led to believe that ‘others’ are       sample reported losing “more than half their net worth,” while one
also investing.                                                                 third accumulated debt because of the fraud.
    While the terms ‘cryptorom’ and ‘romance baiting’ emphasize the
romance elements of the fraud, the original conception of pig butch-
ering (‘Shā Zhū Pán’) does not necessarily require that the relationships       2.3.2. Victims and offenders
developed are romantic. The Australian Competition and Consumer                     There is limited work that identifies offender and victim data and
Commission’s (2023) uses the term ‘relationship baiting scam’ to refer          the average length of hybrid frauds. One study was conducted on
to investment fraud perpetrated by new online friends. The Global Anti          Chinese victims who experienced Shā Zhū Pán. Data for this study was
Scam Organization (GASO), which was developed in 2021 in direct                 gathered from 40 online testimonials from Chinese individuals who
response to pig butchering outside of China, also highlighted that not          experienced Shā Zhū Pán and posted about it on a forum, Zhihu. Their
all pig butchering instances describe frauds that began with a romantic         sample consisted of 36 women and 4 men. The victims’ relationship
relationship between a victim and offender (GASO, 2021b).                       status included single (21), married (7), and divorced (3) (Wang and
                                                                                Zhou, 2023, p. 924).3 The victims’ online posts revealed that the
                                                                                shortest duration of the relationship between a victim and offender was
2.3.1. Impact of fraud                                                          2 days, and the maximum duration was 8 months (Wang and Zhou,
    In the United States, cyber-enabled crime, including various frauds,        2023, p. 924). The study also included four (4) police reported incidents
are reported to the IC3. In 2021, IC3 received 24,299 ‘confidence fraud/        of pig butchering. These cases involved three (3) women, one (1) man
romance scams’ reports with an estimated $956 million in losses (IC3,           and a minimum and maximum duration of the relationship (min. 5
2021, p. 12). The following year, IC3 (2022) received 19,021 reports of         days; max. 29 days) (Wang and Zhou, 2023, p. 924). The age of the
this form of cyber-enabled fraud (Table 1). While there were fewer              victims was not included in the analysis (as it was missing from the
confidence/romance scams reported in 2022 than in 2021, the number              online testimonials).
of investment frauds increased that year (Table 1). In 2022, IC3 re-                The age group, gender, and relationship status of the targets of pig
ceived 30,529 reports of investment fraud, having increased from                butchering have been identified in limited academic, governmental,
20,561 in 2021, and 8,788 reports in 2020 (see Table 1). The financial          and/or non-governmental works.4 In Australia, individuals under the
losses reported for investment fraud have exponentially expanded from           age of 35 experienced “almost half of all reported losses to romance
more than $336 million in 2020 to more than $3.3 billion in 2022 (see           baiting” in 2020 (Scamwatch, 2021), which was comparable to findings
Table 2). In 2021, IC3 reported that over 4,325 of the reports they re-         in China, where victims in their “twenties and thirties” were the pri-
ceived for confidence/romance frauds also included investment and               mary targets of the fraud (Zuo, 2021, cited in Cross, 2023, p. 6). GASO’s
cryptocurrency fraud (IC3, 2021, p. 12).                                        (2022) survey of 550 pig butchering victims from around the world
    IC3 does not record pig butchering under the label ‘pig butchering’         revealed a relatively higher concentration of targets between the ages
in its reports and does not record hybrid romance fraud and investment          of 25 and 40. GASO’s (2022) survey sample included men and women,
fraud as a romance fraud and an investment fraud. Hybrid fraud, rather,         though women predominantly made up the sample (at 65%). The re-
is recorded based on the ends sought – that is, the ultimate goal of the        lationship status of the victims primarily targeted by pig butchering
hybrid fraud. Because the ends sought are investments, IC3 reports              schemes were single (66%), followed by 21% who were married and
them as an investment fraud.                                                    12% who were divorced/separated.5
    Specific financial losses for victims of pig butchering were provided           The term ‘vulnerable’ has been used to describe the populations
in a couple of studies. Wang and Zhou (2023) identified the minimum             often targeted by perpetrators engaging in pig butchering. We use the
                                                                                term not only to include vulnerable age groups, such as the elderly, but
Table 1                                                                         also a wider range of individuals, including those who are emotionally
Number of Confidence Fraud/Romance Fraud and Investment Fraud Reports
Received by IC3 (2020–2022).
                                                                                 3
                                                                                   Some victims in the study reported their relationship status as uncertain
                                   2022             2021         2020           (Wang and Zhou, 2023, p. 924).
                                                                                 4
                                                                                   IC3 data is not included here as IC3 does not distinguish between pig
  Confidence/Romance               19,021           24,299       23,751
  Investment                       30,529           20,561       8,788
                                                                                butchering and traditional investment fraud in victim and offender demo-
                                                                                graphics.
                                                                                 5
Source: IC3 (2022).                                                                GASO did not explain the missing 1% in the sample.

                                                                            4
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vulnerable (i.e., recently divorced or having marital/familial difficul-           • In the final phase, the pig harvesting phase, perpetrators actively
ties), medically vulnerable, and those who are technologically vulner-               encourage victims to invest, often allowing them to invest on the
able (e.g., those who are not well versed in cryptocurrency). This term              offender's behalf initially or providing a small allowance to begin
also includes those who are socially or geographically isolated and                  investing, increasing their confidence and comfort with the process
cannot facilitate interpersonal interaction through means other than                 and technology. Wang and Zhou (2023) note that rewards are also
social media. As “Sean Gallagher, a senior threat researcher at the se-              used to positively reinforce a target's behavior - particularly, their
curity firm Sophos who has been tracking pig butchering as it has                    continued investment of funds.
emerged over the past three years…[stated:] ‘They go after people who
are vulnerable. Some of the victims are people who have had long-term                 Throughout the three stages, Wang and Zhou (2023) also found
health problems, who are older, people who feel isolated’” (Newman,               evidence of emotional manipulation by way of alteration in relational
2023). Moreover, it is important to note that “the same types of stories          attitude or use of contrasting “representational redescription” techni-
and profiles used by romance fraud offenders,” which can be used in               ques (i.e., changing tone of the conversation depending on the stage of
hybrid investment fraud, continue to be successful, indicating an in-             the fraud) before and after investments are made.
ability to identify these schemes and an inability for targets to identify            Cross (2023), who focused her research on the convergence of ro-
themselves as victims (Drew and Webster, 2024).                                   mance fraud and investment fraud (i.e., romance baiting), applied
    Nevertheless, victims of pig butchering may not be the only ones              Whitty’s (2013) “persuasive techniques model” that “outlines seven
who are vulnerable. Specifically, government announcements, alerts,               stages of romance fraud” and identified which stages are consistent
and press releases have stated that pig butchering is “largely perpe-             with romance baiting (see , pp. 3 and 5). The seven stages of romance
trated by criminal organizations based in Southeast Asia who use vic-             fraud identified by Whitty (2013) and covered by Cross (2023) are as
tims of labor trafficking to conduct outreach to millions of unsuspecting         follows:
individuals around the world” (FinCEN, 2023, pp. 1–2; see also FBI and
IC3, 2023). Further, a report by the United Nations Human Rights                  1. Motivated to find the ideal partner. Perpetrators find a victim that is
Office of the High Commissioner (2023) revealed that human traf-                     looking for a romantic engagement.
ficking victims are held in facilities that run online fraud operations in        2. Presented with the ideal profile. Perpetrators present the victim with a
Southeast Asia and forced to engage in online fraud. These documents                 fake and desirable profile.
suggest that the perpetrators of pig butchering may also be victims of a          3. Grooming process. Perpetrators use rapport building techniques to
crime and part of a vulnerable population.                                           establish trust and confidence, ultimately grooming the victim.
                                                                                  4. The sting. Perpetrators make a financial request.
2.3.3. Stages of pig butchering                                                   5. Continuation of the scam. Perpetrators continue the fraud and in-
    Pig butchering transpires in stages. According to Wang and                       crease financial requests for various reasons.
Zhou (2023), pig butchering occurs in three stages: pig hunting, nur-             6. Sexual abuse. Victims are sexual abused. According to Cross et al.
turing/grooming, and pig harvesting (pp. 925–934).                                   (2022), this stage does not always occur.
                                                                                  7. Re-victimization. Targets may experience “recovery fraud,” a form of
 • In the pig hunting phase, perpetrators identify victims to target. Wang           re-victimization from a different offender or different fraud (Button
   and Zhou (2023) findings revealed that during this stage, perpe-                  and Cross, 2017).
   trators conduct research with the intention of planning out effective
   strategies to employ to reap maximum profit, including collecting                  Cross (2023) pointed out that the initial stages of a romance fraud
   background information before initiating contact and by inquiring              pertain to romance baiting. She specifically highlighted differences in
   more about the victim within their first few interactions.                     the reasons for requesting money, where unlike romance fraud, re-
 • In the second phase, the nurturing/grooming phase, Wang and                    quests for money are not premised on emergency situations (e.g., hos-
   Zhou (2023) identified that perpetrators use pre-written scripts on            pital expenses). Cross (2023) further pointed out that romance baiting
   relationship expectations and resonance techniques that are designed           was not only harder to detect and investigate than romance fraud, but
   to increase the victim’s emotional dependence on the perpetrators.             also that ‘red flags’ were reduced with romance baiting by offering
   The use of pre-written scripts has also been identified in romance             investment opportunities rather than asking for money directly.
   fraud. According to Lazarus et al. (2023), these scripts are frequently            Non-governmental and governmental organizations have also
   obtained “from underground forums” and “are categorized based on               identified the stages of pig butchering. GASO (n.d.) also broke down pig
   the age, ethnicity, and gender of the targets” (p. 13).                        butchering in various stages: packaging (i.e., perpetrators falsely re-
       Wang and Zhou (2023) identified three “visceral influences”                present themselves and gain the interest of the victim); raising (i.e.,
   perpetrators target by using resonance techniques to increase the              perpetrators build and invest time in the relationship with the victim
   victim’s emotional dependence on the perpetrators, and ultimately,             while grooming them to invest; killing (i.e., incentives offered to invest
   persuade them for eventual investment. These visceral influences are           money, victims attempt to withdraw their funds and are unable to do
   a target’s “desire to know a stranger show[s]… interest... in them             so, excuses are given as why payments are needed to obtain funds, and
   (victims), desire to have a romantic relationship, and desire to be            coercive measures used to get victim to invest); and the killed stage (i.e.,
   liked by someone with commonalities” (Wang and Zhou, 2023, p.                  often try to coerce victims into giving them more money that is ‘owed to
   926). Tactics used to elicit the desired influences include “sharing           them’ and ultimately block the victim). In the U.S., the FinCEN (2023)
   fabricated personal life details,” “increasing the victims’ expectations       identified the following methods used by perpetrators of pig butch-
   of future romantic relationships,” and relating interpersonally to the         ering: initial contact with the victim (to gain victim’s confidence and
   victim (Wang and Zhou, 2023, p. 926). At this stage, the perpetrators          trust); the investment ‘sales’ pitch (convincing the target to invest); the
   discuss investments and introduce investment opportunities. More-              promise of greater returns (accumulating victims’ funds); and the ‘point of
   over, Wang and Zhou (2023) found that perpetrators will also elicit a          no return’ (i.e., stealing the funds once a substantial sum or a target sum
   higher degree of trust from the victim during this stage by invoking           is received, and ultimately becoming unreachable and ceasing com-
   “authoritative figures” by way of professional or seemingly profes-            munications with the targets).
   sional investment applications/websites and attributing knowledge to
   professional affiliations. This is similar to the techniques that perpe-       2.3.4. What’s in a name
   trators of romance fraud use to establish authority and credibility               The term pig butchering has been criticized both for its lack of
   (Lazarus et al., 2023).                                                        sensitivity towards victims but also because it does not adequately

                                                                              5
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conceptualize the crime it aims to describe (Cross, 2023; Whittaker                newspapers, we conducted clearnet searches to find supplemental in-
et al., 2024). In solidarity with Cross’ (2023) assessment of the crude-           formation about these cases.
ness of the term ‘pig butchering’ and Whittaker et al.’s (2024) assess-                Once we identified 59 cases, we conducted a comprehensive quali-
ment of this term as degrading and harmful to victims, we argue against            tative case study analysis. This analysis was motivated by the following
its continued use and propose the use of the term hybrid investment                research questions: Who are the offenders and targets in pig butch-
fraud, as it: 1) better represents the multifaceted nature of this fraud; 2)       ering? Is pig butchering committed by lone actors, dyads, or by orga-
encompasses the ultimate goal of this fraud (i.e., investments), which is          nized criminal groups? What are offenders’ tactics, tools, areas of op-
the way this cyber-enabled fraud is recorded in the United States by               eration, and modus operandi?
IC3; 3) uses the word fraud to describe the crime instead of the widely                We developed a codebook with our findings. This codebook in-
used ‘scam’ because a scam is, by definition, not a crime; 4) uses the             cluded information about the type of fraud, loss associated with the
term fraud to underscore the seriousness of the crime and not minimize             fraud, length of the fraud, victim and offender, and the tools, tactics,
or trivialize it (Lazarus et al., 2023); and 5) does not dehumanize vic-           and methods of operation of perpetrators of this fraud. To ensure in-
tims by equating them to ‘pigs’ and what happens to them as a ‘pig                 tercoder reliability, the cases were coded and discussed to verify con-
slaughter.’ For these reasons, we will refer to ‘pig butchering’ as hybrid         sistency and resolve any disagreements. The authors also reviewed the
investment fraud hereafter.                                                        final coding and conducted a final quality check.

3. Methods                                                                         4. Findings and discussion

3.1. Data sources                                                                      Our in-depth analysis of the cases in our dataset revealed variations
                                                                                   in the type of hybrid investment fraud perpetrated, the impact of the
    Hybrid investment fraud is a relatively new phenomenon and has                 fraud, victim and offender demographics, and the methods of opera-
not been reported on extensively. Thus, we cast a wide net to gather a             tion, including the tools, and tactics perpetrators used to commit this
robust data set. We triangulated several diverse sources to obtain the             cyber-enabled crime.
most complete picture possible about hybrid investment fraud. To
achieve this, we reviewed news reports and court documents that de-                4.1. Type of hybrid investment fraud
scribed instances of hybrid investment fraud. We specifically examined
documents between January 1, 2018, and November 1, 2023, as the                        Our cases revealed various complex, multidimensional frauds that
colloquial term ‘pig butchering’ started to appear in online reports in            do not fit within Beals et al. (2015) fraud typology, representing a
2018. To find documentation of hybrid investment fraud cases with                  departure from the one-dimensional conceptions of fraud in this ty-
victims in the United States, a private case law database (NexisUni) was           pology, and demonstrating that certain frauds today do not fit neatly
used. On NexisUni, we used the following search terms: pig butchering;             into singular categories as required by these designations. Instead, our
Shā Zhū Pán; Shāz Hū Pán; and a combination of the terms ‘romance                  findings revealed various forms of hybrid investment fraud.
scam’ and ‘investment scam;’ ‘romance scam’ and ‘cryptocurrency;’                      One of these hybrid investment frauds involved romance fraud and
‘investment scam,’ ‘romance scam’ and ‘cryptocurrency;’ ‘trust-based,’             cryptocurrency investment fraud. This finding is in line with the lit-
‘investment,’ and ‘scam;’ ‘cryptocurrency’, ‘confidence,’ and ‘scam;’ and          erature that identifies this form of fraud as the convergence of romance
‘crypto’ and ‘catfishing.’ As two transliterations for “Shā Zhū Pán” were          fraud and investment cryptocurrency fraud (Cross, 2023). Nonetheless,
used in documents, both were searched for, as described above (how-                our dataset also included cases that did not involve romance fraud,
ever, we note the correct term is Shā Zhū Pán). Moreover, results were             where only friendships and/or professional relationships were devel-
limited to content from North America and documents written in                     oped. This designation differs slightly from the original conception of
English. We reviewed the results from our searches, particularly ex-               Shā Zhū Pán, but cases that are more in line with the original con-
amining news reports under the “news” section and court documents                  ceptualization were also represented. Specifically, our dataset included
from the “briefs, pleadings, and motions” section of the platform. In the          cases where the relationship fostered between a victim and offender
news results, “group duplicates” was turned on. We did not use any web             was friendship, and cases that involved only a professional relationship.
scraping tools as NexisUni does not allow scraping as part of its terms of         These cases illustrate the multidimensional nature of hybrid investment
use. Utilizing this search process, we identified over 1,314 documents             fraud, whereby contacts and connections are made to achieve the end
that contained combinations of our relevant keywords.                              goals - the maximum number of investments to obtain as much money
                                                                                   as possible from the victim.
3.2. Data analysis
                                                                                   4.2. Fraud impact
    We reviewed 1,314 documents to identify cases of hybrid invest-
ment fraud. Our review was limited to incidents involving victims based                The exact amount of the targets’ financial losses was not always
in the United States, thus, any article that described hybrid investment           included in the cases in our dataset. In the cases where this information
fraud but included victims who lived outside of the U.S. were removed.             was included, the financial losses ranged from $22,000 USD to 9.6
We also removed documents that only provided warnings and tips to                  million USD. In the case of the smallest reported fraud loss, a man was
avoid hybrid investment fraud and any documents that did not have                  defrauded out of $22,000 USD by someone he met on the MeetMe
details about an actual case. To ensure intercoder reliability, the au-            dating app (C36, Sophos, 2023). The case with the largest amount of
thors reviewed the documents separately, coded the cases separately                reported financial loss involved a victim who invested 9.6 million USD
(i.e., whether the case was a hybrid investment fraud or not), then re-            over four months on what they were led to believe was a legitimate
viewed their results together. We disagreed on 34 documents and dis-               cryptocurrency investment platform (C21). Most of our cases involved
cussed our respective coding to resolve these disagreements.                       victims who invested hundreds of thousands of dollars, which is much
Ultimately, we were able to identify 59 distinct hybrid investment fraud           higher than the average loss reported internationally (see, for example,
cases with victims in the United States that occurred between January              GASO, 2022). While GASO (2022) reported an average loss for U.S.
1, 2018, and November 1, 2023 (see Table 3). Of these incidents, we                victims in the low hundreds of thousands USD, the cases we identified
found court documents for 24 cases, and 35 cases from newspaper ar-                predominantly reported losses in the mid to high hundreds of thousands
ticles covering unique instances of hybrid investment fraud carried out            USD. Our dataset also included multiple cases where the fraud loss to
on victims within the United States. For the cases we identified in                victims was in the millions. While there were two cases (C44 and C40)

                                                                               6
    Table 3
    Cases (*Full citations included in the reference list).

     Case      Citation                                Case   Citation                          Case   Citation                                 Case   Citation                           Case   Citation

                                                                                                                                                                     **
     C1        In the Matter of Application by the     C13    Leonard Terry Licht v. Tina       C25    U.S. Attorney’s Office and Central       C37    Podkul, 2022 ; Farivar, 2022       C49    Middle East North Africa Financial
               United States for Seizure Warrant,             Ling and Luxkey, 2023                    District of California, 2023*,a                                                           Network, 2022
               2022
                                                                                                                                                                                                                                       M.-H. Maras and E.R. Ives




     C2        United States of America v.             C14    United States of America, v. 1.   C26    Kelly, 2023**                            C38    Pawaon, 2023b                      C50    Falcon, 2022**,c
               Approximately 1,360,000.748                    12,324.84 USDT et al., 2023
               Tether et al., 2023
     C3        United States of America v. Hailong     C15    Commodity Futures Trading         C27    Kelly, 2023**                            C39    Middle East North Africa           C51    Wang, 2021**,d
               Zhu, 2023a; United States of                   Commission, v. Cunwen Zhu                                                                Financial Network, 2023
               America v. Hailong Zhu, 2023b;                 and Justby International
               United States of America v. Hailong            Auctions, 2023
               Zhu, 2023c; United States of
               America v. Hailong Zhu, 2023d
     C4        United States of America v.             C16    State of Indiana v. Xu Xiongju    C28    Bartlett, 2023                           C40    Lee, 2022                          C52    In the Matter of the Seizure of
               5,012,294.90 in TetherUS et al.,               et al., 2023                                                                                                                       Funds not to Exceed $351,000.00
               2023                                                                                                                                                                              et al., 2022
     C5        Gurung, Anjita v. Metaquotes et al.,    C17    United States of America v.       C29    In the matter of Cresttrademining        C41    Alabama Securities                 C53    In Re Bien, 2022
               2023                                           Jin Hua Zhang et al., 2022               Limited*,e                                      Commission, 2022
     C6        United States of America v.             C18    OKX.com, Elaine Kim Chen          C30    In the matter of Forex Market Trade*,g   C42    Federal Trade Commission           C54    United States of America vs.
               56,382.9700 Tether et al., 2023                Yu et al., 2023f                                                                         FTC, 2021h                                $811,549.41 et al., 2023
     C7        United States of America v.             C19    Adebayo, 2023                     C31    In the matter of MetaCapitals            C43    Sophos, 2023b                      C55    Albert Abed v. Wei Lin et al., 2023
               Approximately 503,349.86 Tether                                                         Limited*,i
               et al., 2022
     C8        United States of America, v.            C20    Zimwara, 2023j                    C32    Armstrong, 2023                          C44    Faux, 2023                         C56    United States of America, vs.
               86,766.00 USDT et al., 2023                                                                                                                                                       Ze'shawn Stanley, 2023***
                                                                                                                        l
     C9        Michael Bullock v. Jessica Doe          C21    In the matter of seizure of the   C33    Sophos, 2023a                            C45    U.S. Attorney's Office, District   C57    U.S. Department of Financial




7
               et al., 2023                                   domain names simexcbr.com                                                                of New Jersey, 2022*                      Protection and Innovation, 2022am
                                                              et al., 2022; U.S. Attorney’s
                                                              Office, Eastern District of
                                                              Virginia, 2022*,k
     C10       In the matter of the seizure of up to   C22    Schoeff, 2023                     C34    Podkul, 2022**                           C46    Lim, 2022                          C58    U.S. Department of Financial
               489,269.52 Tether et al., 2023                                                                                                                                                    Protection and Innovation, 2022bn
                                                                                                                       **
     C11       Brian Hoop v. Emma Doe and John         C23    Owczarzak, 2023                   C35    Podkul, 2022                             C47    Allen, 2021                        C59    U.S. Department of Financial
               Does I-XX et al., 2023                                                                                                                                                            Protection and Innovation, 2022co
     C12       Divya Gadasalli v. Jerry Bulasa         C24    CE Noticias Financieras           C36    Podkul, 2022**                           C48    Roose, 2022
               et al., 2022                                   English, 2022b

    *Court document of case used that the NexisUni news report mentioned details about or referenced.
    **
       More than one case included in the source.
    ***Other document used based on information obtained from NexisUninews report (Sandhu-Longoria, 2023).
    a
      Other document used, which was found based on information from the NexisUni news report (Crypto Breaking News, 2023b; In the Matter of Seizure of any and all funds 2022).
    b
      Other document used, which was found based on information from the NexisUni news report (Anuforo, 2023).
    c
      Other document used about case NexisUni news report (CE Noticias Financieras English, 2022a) referenced.
    d
      Other document used about case NexisUni news report (CE Noticias Financieras English, 2022a) referenced.
    e
      Other document used about case NexisUni news report (Governance, Risk & Compliance Monitor Worldwide, 2023) referenced.
    f
      Court document about case the NexisUni news report (U.S. Fed News, 2023) referenced.
    g
      Other document used about case NexisUni news report (Governance, Risk & Compliance Monitor Worldwide, 2023) referenced.
    h
      Other document used that was identified based on information included in NexisUni news report (Podkul, 2022).
    i
      Other document used about case NexisUni news report (Governance, Risk & Compliance Monitor Worldwide, 2023) referenced.
    j
      Other document used about case NexisUni news report rt (Crypto Breaking News, 2023a) referenced.
    k
      Other documents used, which were identified based on information provided by the NexisUni report (Pepper, 2023).
    l
      More information about this case was obtained from the original Sophos news report referenced in the NexisUni news report.
                                                                                                                                                                                                                                                                                         Case 1:24-cv-00337-MJT Document 9-2 Filed 09/09/24 Page 19 of 41 PageID #: 669




    m
       Other document used about case NexisUni news report (Governance and Compliance Monitor Worldwide, 2022) referenced.
    n
      Other document used about case NexisUni news report (States News Service, 2022b) referenced.
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    o
      Other document used about case NexisUni news report (States News Service, 2022a) referenced.
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where targets invested only $100 USD, these cases were not included as              but some of the documents involved civil actions where offenders were
the lowest amount of investment because the targets were journalists                not named. In certain cases, the number of offenders were identified
and knew they were being defrauded. For example, in one of these cases              (though not always with the names of offenders). For instance, civil
(C44), an investigative journalist followed the instructions of the of-             court documents named individual defendants as Jessica Doe (C9),
fender and made a modest deposit only to learn more about how this                  John Does (C9, C11), Emma Doe (C11), and Does (C18).
fraud worked (Faux, 2023).                                                              Our dataset also identified the existence of organized criminal
    Our findings revealed significant financial losses that extended be-            groups, which are defined as “a structured group of three or more
yond the initial target of the fraud. In several cases, victims requested           persons, existing for a period of time and acting in concert with the aim
help from family and/or enlisted family and friends to ‘invest’ in the              of committing one or more serious crimes or offenses established in
scheme. Victims invested their inheritance, savings and/or retirement               accordance with ...[the UN Convention Against Transnational
money, borrowed from retirement investment accounts, liquidated                     Organized Crime (UNTOC)], in order to obtain, directly or indirectly, a
stocks, refinanced, or obtained a second mortgage on their homes, used              financial or other material benefit” (Article 2(a), UNTOC). In our da-
parents’ home as collateral for loans, as well as money obtained from               taset, words such as ‘enterprise,’ ‘syndicate,’ or group were used to
banks in the form of loans, and borrowed private funds from family                  identify the involvement of three or more persons in the fraud. For
members (e.g., parents). In one case, a victim liquidated his own and his           example, the word ‘syndicate’ was used to describe groups engaging in
wife’s retirement accounts, obtained a second mortgage on their home,               hybrid investment fraud (C3) and groups engaging in hybrid investment
sold their rental home, and recruited five (5) friends to invest in the             fraud have been accused of running criminal enterprises (C5) and en-
scheme (C4). The total investments from the victim, his wife, and his               gaging in a “pattern of racketeering activity” (C16, p. 183). In one case,
friends were about $4.3 million USD. Nevertheless, like other forms of              11 members of the group were mentioned, each with their own roles in
fraud (Bilz et al., 2023), the losses associated with hybrid investment             facilitating or assisting the hybrid investment fraud, committing wire
fraud are not just financial. Some victims reported adverse psycholo-               fraud, money laundering, bank fraud, passport fraud, identity theft and
gical and physical consequences of the fraud, including suicidal                    other criminal activities (C17). In this case, we identified a familial
thoughts, psychiatric distress, admittance to hospital and/or emergency             connection between perpetrators - two brothers ran their hybrid in-
room, and the dissolution of and harm to interpersonal relationships                vestment fraud operation out of New York and New Jersey (United
(e.g., separation and/or divorce after fraud revealed and harm to re-               States of America v. Jin Hua Zhang et al., 2022).
lationships because they enlisted family and/or friends to invest in                    Moreover, our dataset revealed organized criminal groups operating
schemes). These results are consistent with those found in meta-ana-                in concert to commit hybrid investment fraud. Specifically, one case
lyses examining the outcome of romance fraud as several studies cite                (C15) identified three groups operating together to commit this cyber-
victim reports of “shame, embarrassment, shock, anger, worry and                    enabled crime: solicitors (i.e., contacted victims, formed relationships,
stress (Whitty and Buchanan, 2016)” that “can be associated with                    and convinced them to invest); trading firms (i.e., opened trade accounts
subsequent physical and mental health problems… (Cross, 2019)” (Bilz                on behalf of victims); and shell companies (i.e., accounts used to obtain
et al., 2023, p. 8). While monetary loss is often a focus of legal inter-           fraud and misappropriate funds from victims). Solicitors pretended to
vention, emotional devastation frequently compounds the effects of                  be experts with insider knowledge and contacts that helped them be
various forms of cyber-enabled fraud.                                               successful traders and introduced victims (known as “scheme custo-
                                                                                    mers”) to trading firms. Trading firms directed scheme customers to
4.3. Offenders and victims                                                          download fraudulent apps, and victims and others transferred money
                                                                                    (for investment, fees, taxes, or other reasons) to shell companies.
4.3.1. Offender demographics                                                            Our dataset further revealed fraudulent companies, which played a
    Offender gender demographics were not included for all offenders in all         role in the hybrid investment fraud. For instance, the New Jersey
cases in our dataset. This information predominantly denoted the gender of          Bureau of Securities ordered three companies to cease and desist op-
offenders’ online personas rather than their real identity (except for offen-       erations as they were found in violation of the state’s securities laws for
ders who were identified in court documents by their real names). Where             their involvement in hybrid investment fraud schemes (C29, C30, and
gender identity related information was included (gender and gender pro-            C31). Furthermore, in certain cases, companies were listed alongside
nouns included and/or offenders identified), we observed that offenders             individuals as defendants (e.g., C9 and C11).
predominantly pretended to be a woman and targeted a man, or an offender                The offenders were located both in the United States and abroad. In
pretended to be a man and targeted a woman. This tactic, known as gender            one case, one group was identified as operating in the same area in the
swapping, is used to encourage the development of a romantic relationship           United States (United States of America v. Jin Hua Zhang et al., 2022).
and a reported manipulation tactic in romance fraud studies (see, for ex-           Another case identified an organized criminal group made up of Chi-
ample, Lazarus et al., 2023).                                                       nese and Namibian nationals that targeted U.S. victims operating in
    Many cases identified at least one offender - either their real name            Namibia (C20). In other cases, perpetrators stated they were and/or
or the fake name they used for the fraud, the person who contacted the              were believed to be in Canada, Cambodia, China, Laos, Thailand, Ma-
victim, formed a relationship with the victim, and convinced and                    laysia, and Vietnam. Countries in Southeast Asia have been identified in
pressured the victim to invest in an opportunity. However, this does not            government documents as source countries for hybrid investment fraud
necessarily mean that only one offender was involved in the fraud.                  (FinCEN, 2023) Particularly, in one case (C4), cryptocurrency exchange
Many of the cases mention a customer service representative, broker,                accounts identified in the fraud were registered from countries where
account manager, platform administrator, support, or other contact                  hybrid investment fraud schemes originate (i.e., Thailand and Ma-
from a fraudulent investment company. Certain cases also mention                    laysia) (United States of America v. 5,012,294.90 in TetherUS et al.,
others, such as contacts or relatives who offer investment assistance to            2023). Reports have shown that human trafficking organizations in
the victim at the request of the person who initiated contact with the              Cambodia, Laos, Thailand, and Malaysia have forced trafficked victims
victim; however, this does not necessarily mean that more than one                  to conduct hybrid investment fraud (Keaton, 2023). Nonetheless, in
person was communicating with the victim. We did not have complete                  many of our cases, the real and/or perceived actual location of the
data in most of the cases in our dataset to identify the number of of-              offenders was not identified.
fenders involved in the fraud (e.g., the same offender could have po-
tentially initiated contact with the victims and served as the customer             4.3.2. Victim demographics
service or other representative from the investment platform). Court                   Predominantly, the names and demographic information of victims
documents provided more robust information than the news articles,                  were not included. Many cases included initials of victims instead of

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            Table 4                                                                   request and a connection is made between the target and the offender.
            U.S. States where victims are located.                                    Our dataset revealed that various forms of telecommunications and
              Alabama                                Michigan
                                                                                      electronic communications were used to send unsolicited communica-
              Arizona                                Minnesota                        tions to targets. In the cases in our dataset that included this informa-
              California                             New Jersey                       tion, targets were first contacted by offenders via text messages (SMS)
              Colorado                               New York                         or calls; communications platforms (i.e., WhatsApp, Telegram, and
              Connecticut                            Ohio
                                                                                      Line); through social media platforms (i.e., Twitter, LinkedIn, Face-
              Delaware                               Pennsylvania
              Illinois                               South Carolina                   book/Meta, Snapchat, and Instagram); on online dating platforms (i.e.,
              Indiana                                Tennessee                        Tinder, Hinge, MeetMe, and Zoosk); and other online platforms (i.e.,
              Iowa                                   Texas                            Homesnap, Airbnb, Hello Talk, and Tandem). Two language apps,
              Georgia                                Virginia                         HelloTalk and Tandem, which were designed to connect individuals
              Maryland                               Washington
              Massachusetts                          Wisconsin
                                                                                      seeking to improve language skills, were identified in our dataset as
                                                                                      platforms individuals may repurpose and use to connect romantically.
                                                                                          The way offenders approached targets varied by the type of tele-
their names to protect their privacy. In those cases, we were only able               communications and electronic communications used. When the
to identify gender based on the pronouns used. Where gender in-                       methods used to connect to targets were calls, texts, and messaging
formation about victims was included, the number of victims that were                 applications, offenders used various excuses to explain why targets
men were more than double the number of victims that were women.                      were contacted. These unsolicited communications often occurred
Only thirteen (13) cases identified the age of the victim. The ages                   under the pretext that offenders accidentally contacted them, were
identified in these cases ranged between 20 s and 60 s: ages 22 (C47),                reaching out to someone they purportedly knew, or were reaching out
24 (C50), 33 (C48), 37 (C28), 41 (C27), 42 (C26), 46 (C46), 52 (C37                   pursuant to the direction of a third party. For example, in one case with
and C51), 61 (C2), 62 (C1 and C32), 68 (C18). The ages identified in                  multiple victims (C25), one of the victims was contacted via text mes-
our cases differed from the victim age group of hybrid investment fraud               sage by a Chinese woman claiming that her mother supposedly en-
that the Global Anti Scam Organization (GASO) identified: ages 25–40.                 couraged her to contact him for the purpose of discussing marriage. On
Only a couple of cases included words relating to age groups (i.e., ‘re-              dating and social media platforms, offenders connect with targets under
tired’; C25) and/or age ranges to identify the relative and/or approx-                the guise of forming relationships, friendships, and/or professional
imate age of the victims (i.e., age range of 30 – 39; C42). When the                  connections. A couple of our cases involved offenders contacting targets
relationship status of a victim was provided in the case documents,                   to request a service they were providing (e.g., life coaching services,
victims in the cases were identified as single, married, divorced, and/or             real estate assistance, and short-term rental assistance).
widowed. Further, our dataset, which focused on U.S. victims, revealed                    Initial contact also occurred in online group chats. In our dataset,
that the victims were from various U.S. states (see Table 4).                         one victim, while participating in a group chat on Twitter, was in-
    Certain cases included information about the employment of victims. In            troduced to a fraudulent trading platform, known as Bitkam (C54).
these cases, the victims who were targets of this cyber-enabled fraud in-             FINRA (2024) recently published an alert about fraudulent investment
cluded (but were not limited to) a lawyer, life coach, trade manager, in-             groups on social media. Individuals posing as legitimate investment
vestigative journalist, technology executive, software engineer, marketing            advertisers are giving investment recommendations in these groups,
executive, financial advisor, real estate agent, hiring manager, business             which start on social media platforms and then often move their com-
owner, and caretaker. Our dataset also revealed that vulnerable populations           munications to encrypted communications platforms (e.g., WhatsApp)
were targeted. Specifically, in our dataset, we identified victims who were           (FINRA, 2024).
emotionally vulnerable (e.g., isolated, loss of a loved one, recently divorced,           Following initial contact, most cases in our dataset revealed that
or having marital/familial difficulties), medically vulnerable (e.g., long-term       offenders encouraged communications to continue off social media and
health problems and terminal diseases), and those who were technologically            online dating platforms to other messaging platforms (e.g., WhatsApp,
vulnerable (i.e., those who are not well versed in cryptocurrency and in-             WeChat, Line, Skype, and Telegram). Victims are encouraged to move
vesting cryptocurrency). For example, when one victim met the perpetrator,            off social media and dating platforms as these platforms have algo-
she had been diagnosed with terminal cancer and was getting a divorce                 rithms that could detect suspicious and fraudulent activity. For ex-
after 16 years of marriage (C24), another had lost his wife of 40 years to            ample, the Match Group, which includes dating apps, such as Match,
cancer (C13). In another case, an elderly woman suffering from early onset            Hinge, Tinder, and Our Time, among others, has measures in place to
dementia and multiple sclerosis became the target of a hybrid investment              help users identify fraudsters and fraud, by, for example, having user
fraud (C52). In addition, one victim was a political refugee from Nepal, who          verification tools on their platforms, urging users to keep communica-
came to the U.S. because she was targeted by the Communist Party of Nepa              tions on the platforms and to use existing verification tools, sending
(C5). This victim struggled with severe health issues from her loneliness and         messages and alerts to users with online safety dating tips, and using
separation anxiety from her family, who were still in Nepal and experien-             machine learning to identify fraudulent accounts based on activity
cing threats and violence. Moreover, a hearing-impaired immigrant, who                (Skores, 2023; Goode, 2023). Nevertheless, these platforms are still
fled Iran because of religious persecution, became a target of this cyber-            used to initially engage the victim, and then move communications off
enabled fraud (C55).                                                                  these platforms to avoid detection of the fraud and deletion or blocking
                                                                                      of their accounts.
4.4. Hybrid investment fraud stages: Offenders’ M.O
                                                                                      4.4.2. Cultivating the relationship
   Our dataset revealed that hybrid investment fraud includes various                     Once a connection is made, the perpetrator initiates conversation to
stages: approaching the target; cultivating a relationship with the                   ultimately build rapport, trust, and a relationship with the target. At
target; discussing and promoting investments; getting victims to invest;              this stage, the offenders adopt various storylines and personas to suc-
and revealing the fraud. In what follows, we identify the stages and the              cessfully cultivate a relationship with victims. In our dataset, the of-
tools and tactics used by offenders in each stage.                                    fenders posed as entrepreneurs, asset managers, cryptocurrency in-
                                                                                      vestors or traders, employees at technology companies, architects, and
4.4.1. The approach                                                                   business owners in the United States and abroad (e.g., a wine trader in
   At this stage, like FinCEN’s (2023) “initial contact with the victim”              France). The offenders claimed to have made money from investments
stage, a target receives an unsolicited call, message or connection                   and have expertise in cryptocurrency investments or gold trading.

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Furthermore, one offender in our dataset fraudulently posed as a mili-                4.4.3.1. Securities and commodities. Real and fake securities and
tary veteran (C56).6 Fake personas that include persons of authority or               commodities and associated technologies are the primary tools offenders,
credibility, like military members, are used to gain the victim’s trust               co-conspirators, and/or associates use to commit hybrid investment fraud.
(Cross and Holt, 2021; Lazarus et al., 2023).                                         These tools are used by criminals to further their illicit ends and launder the
    When offenders’ profiles on online platforms and apps included                    proceeds of their crimes. Our dataset revealed the use of cryptocurrency for
pictures and/or offenders shared images with the targets, the offenders               these purposes. Specifically, offenders encouraged victims to purchase
used images of attractive men and women and displayed wealth. The                     cryptocurrencies, such as Binance Coin (BNB), Bitcoin (BTC), USD Coin
use of seductive images and visual portrayal of wealth are also common                (USDC), Tether (USDT), and Ethereum, and deposit them into accounts,
tactics used in romance fraud more generally (Bilz et al., 2023; Lazarus              apps, and/or online platforms, controlled by the offender(s) and/or
et al., 2023). The offenders’ affluent lifestyles were purportedly made               associates. Offenders also directed victims to purchase/invest in
possible by their investments in securities and/or commodities. A                     Decentraland’s virtual world cryptocurrency, such as Mana (C4).
couple of the cases revealed storylines where the offenders claimed to                Nevertheless, not all investments in our dataset involved cryptocurrency.
be Ivy League educated (e.g., Harvard University and University of                    Unlike existing work that reduces hybrid investment fraud to frauds that
Pennsylvania). An offender in one case posed as a graduate from the                   involve cryptocurrencies, our dataset revealed five (5) cases where victims
University of Pennsylvania, with expertise in gold trading and a history              were not directed to invest in cryptocurrencies, but instead were directed to
of extremely successful real estate and financial investments (C25).                  invest in a commodity, gold. In one case (C36), the victim fostered a
    Offenders in our dataset feigned empathy for victims experiencing                 romantic relationship with a man claiming to make money in the gold trade
hardships and provided emotional support. In one case, the offender                   and asked him to teach her about this trading. The perpetrator taught her
connected with the victim by consoling him over his father’s deterior-                how to invest using MetaTrader – a fake brokerage. Other cases (C25, C42,
ating health and placement in hospice (C37). Other offenders cited                    C43, and C55) similarly involved the same fake brokerage.
personal hardship as the reason for investing in commodities. For ex-
ample, in one case, the offender, posing as a man, told the target that               4.4.3.2. Length of fraud. The length of the fraud was not always clearly
when his family business closed during the COVID-19 pandemic, he                      delineated in the cases in our dataset. In the cases where the length of
turned to cryptocurrency investments for income (C24).                                fraud was included, it was variable. Our dataset showed that some
    Additionally, offenders in our dataset sought to establish personal bonds         frauds lasted a little over a month until about six months (from initial
with victims and develop stronger connections with them. To do so, of-                contact to the ceasing of communications between victim and
fenders frequently furthered false emotional connections with victims by              offenders), while other cases lasted much longer. This does not
incorporating shared trauma into newly developed narratives, or by estab-             exactly reflect Wang and Zhou’s (2023) findings, but also does not
lishing common personality traits, aimed at solidifying their relationship.           drastically differ from them. Moreover, it is possible that lengthier
This tactic is like what is described by Whitty (2013) in the “grooming               frauds are reported with more frequency. The lengthiest fraud in our
process,” GASO (n.d.) in the “packaging” and “raising” stage, and Wang and            dataset lasted for over two years (C5). In this case, over the course of
Zhou (2023) in the “nurturing/grooming” stage. Specifically, what we ob-              two years, an unidentified offender (John Doe) convinced Anjita
served was the use of persuasion techniques (i.e., resonance techniques),             Gurung (a caretaker who was a native of Nepal living on the North
such as “liking and similarity” to groom the victim (Wang and Zhou, 2023,             Coast) to invest about $597,000 USD.
p. 926). For example, in one case, the victim stated: “He looked very le-                 The amount of time between the offender initially contacting the
gitimate, started talking business with me, knew the company I work at. He            target to the time it took to switch to friendly, professional, or romantic
had a friend who went to the same university as me years ago, and so we               conversations to discussions of investment opportunities also varied. In
really connected that way” (C46). Persuasion techniques such as “visceral             one case (C22), “[a]fter a couple of days of communicating, the suspect
appeals, the creation of urgency, fast-moving relationships, appeals to strong        started to ask questions about the investor’s financial background and
emotions and even isolation and monopolization” are often used alongside              investing habits” (In the matter of: www.batcipe.vip, James Yeh,
linguistic devices to distract and disguise criminal intent from the victim by        www.batcnap.vip, Kenju Go, 2023), while in another case (C46), the
pushing clues indicating fraud to the periphery of the victims’ thoughts and          offender and the target were communicating for only two weeks before
forefronting a connection and relationship (Bilz et al., 2023, p. 12).                the conversation turned towards investments. In another case (C1),
    We also identified the use of other resonance techniques identified by            after matching on a dating platform and moving their conversations the
Wang and Zhou (2023) in their study. More precisely, offenders shared false           same day, the offender, within five hours of communicating switched
personal information and experiences with victims. For instance, in one case          conversations to cryptocurrency, by “stat[ing], in an inorganic way to
(C35), an offender feigned a similar situation to the victim who informed             explain a five-minute delay in her response, ‘Sorry, I was just analyzing
him that she had a brother with special needs that she cared for (i.e., cer-          the cryptocurrency blockchain market with my teacher’” (In the Matter
ebral palsy), while in another (C48), the offender claimed to be from the             of Application by the United States for Seizure Warrant, 2022, p. 10).
same province in China as the victim’s birth family, even going so far as to          What was consistent throughout the cases in our dataset was that, de-
jokingly claim that they are siblings.                                                spite the variation in the length of time between initial contact and
                                                                                      discussion of investment opportunities, the speed of this stage of the
                                                                                      hybrid investment fraud was relatively slow (with a few exceptions) – at
4.4.3. Making the ‘case’ for the investment                                           least when compared to the next part of the process, which involves the
    In this stage, the offender turns conversations towards investments.              target’s investment.
The offender then discusses expertise and/or prior success with in-
vestments. The goal of these conversations is to introduce the target to a            4.4.4. The fraudsters’ toolkit for investments
lucrative investment opportunity, and then entice them to invest                          At this stage, the offender exploits the relationship and uses a series
(which is the next stage). This can be likened to the FinCEN’s (2023)                 of confidence-building techniques to gain the target’s trust in the in-
“investment ‘sales’ pitch” stage and Wang and Zhou’s (2023) “nur-                     vestment and/or coercive techniques to get the offender to invest and/
turing/grooming phase,” where the investments are discussed, and in-                  or continue to invest. This stage is equivalent to GASO’s (n.d.) “killing”
vestment opportunities are introduced and encouraged.                                 stage, FinCEN’s (2023) “promise of greater returns” stage, and the “pig
                                                                                      harvesting phase” of Wang and Zhou’s (2023).

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    In the case, the offender predominantly engaged in romance fraud (except          4.4.4.1. Confidence building measures. In a handful of the cases, victims
for one case of hybrid investment fraud).                                             described measures taken by perpetrators to establish confidence in

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their relationship and investment opportunities. These confidence                       to establish legitimacy of false narratives, which were shared to inspire
building tactics ranged from offering financial assistance to victims                   confidence in investment opportunities (e.g., C46; Lim, 2022). For
for investments, to feigning insider knowledge of and connections to                    example, perpetrators often falsely depict invested funds increasing on
investment platforms, to providing false documents and information                      fake online platforms and apps or via screenshots.
verifying and authenticating investments and investment platforms, to                       4.4.4.1.4. Control over funds. In several cases in our dataset, victims
promoting the illusion that victims have control over their funds, to                   could withdraw some of their deposited funds from their investments,
educating the victims.                                                                  at least initially. In another case, one victim mentioned that in order to
    4.4.4.1.1. Offers of financial assistance. To encourage further                     test his control over funds he invested (and to check the legitimacy of
investments, certain offenders even offered to contribute money to                      the platform), he withdrew money and then deposited it again in his
victims’ investments so victims can reach a higher investment goal and/or               ‘investment’ account (C23). To this victim and others in our dataset, the
when victims could not invest more money and/or could not obtain all the                success of this test (or tests, as certain victims were able to make more
funds requested by the platform to withdraw their funds. This is unique to              than one withdrawal) alleviated concerns and served as proof of the app
hybrid fraud as this action is only possible due to the trust established by the        and/or platform’s legitimacy. This is similar to the tactic Wang and
intimacy of interpersonal relationships and the tactics used in investment              Zhou (2023) describe where perpetrators ask victims to make initial
fraud. In one case (C42), the offender offered to co-deposit money into the             investments on their secondary accounts to inspire victim confidence
victim’s trading account (she was told to deposit $410,000 USD to her                   and reinforce their perceived control over the situation. This method
account and he claimed we would deposit $700,000 USD to her account). In                also contributes to another related tactic that perpetrators employ;
the cases where offenders purportedly financially contributed to victims’               educating victims on investment (see next section).
investments, they requested money from victims for personal expenses and                    4.4.4.1.5. Served as teachers. A comfort level was established with
demanded more investments from victims, and the investment platforms                    investing to encourage victims to invest more over time. This was
notified victims that third parties were not allowed to contribute to victims’          achieved by offenders offering to teach victims how to trade. Offenders
investments and financial and personal information from these contributors              walked victims through the process of investing (e.g., by providing
was needed to verify the lawfulness of the transactions (i.e., to rule out              screenshots of their screens or assisting them through video) and in
money laundering). In the cases where the fraudulent investment platforms               limited cases, if assistance was needed, offenders requested remote
notified the victims of the issues associated with third party contributions,           access to victim devices to register them, registered virtual currency
the victims had their accounts frozen and/or were charged fees as a penalty             service provider or virtual asset provider accounts on behalf of the
and for other reasons.                                                                  victim, and took control over the victim’s account and/or made the
    4.4.4.1.2. Insider knowledge and connections. Some offenders claimed                investments on the victim’s behalf. In one case (C9), the offender sent
to have insider knowledge and connections. In several cases, offenders who              “screenshots of her phone with boxes (made using a hand-drawn
promoted investment opportunities to victims pretended to have a familial               feature to superimpose lines and shapes onto photos and screenshots)
connection, most frequently an uncle, to the investment platform and/or                 showing [him] which buttons she wanted him to click” (Michael
someone with expertise in investment trading. In one case (C55), an uncle               Bullock v. Jessica Doe et al., 2023, p. 10). Offenders also walk certain
was mentioned during the initial interactions (“only child and lucky to have            victims through the successful withdrawal of some money they invested
a great uncle who treats her as his biological daughter” p. 2). This initial            to show that the site or platform can be trusted.
introduction made the segue into later discussions about her uncle’s                        Perpetrators provided education regarding cryptocurrency to build a
connections to investment claiming that he is a “senior financial analyst               false sense of financial literacy, which they could then exploit. An ex-
at Blackstone Group and had been giving her financial advice” (p. 2). In                ample of this tactic was seen in cases where perpetrators encouraged
another case (C4), the offender, who used a female persona (‘Gracie’),                  victims to invest using Tether, because it was a ‘stable coin’, meaning
claimed her uncle had a direct relationship with the management of the                  that this cryptocurrency had a more stable value. This trust in the
cryptocurrency exchange platform (NTU Capital) to encourage the victim to               cryptocurrency used imbues victims with confidence to invest in high-
open an account there. Moreover, another offender in our dataset                        risk markets without considering other risks associated with new in-
mentioned that her uncle, who ran an investment analysis team, would                    vestments, including potential fraud.
inform her of trades she should make (C25). Similarly, a victim in Wang and
Zhou’s (2023) dataset revealed that an offender mentioned an experienced                4.4.4.2. Love bombing. Love bombing, which involves overwhelming a
uncle who taught him how to invest and conduct the requisite “financial                 person with attention, affection, and constant communication via call,
statistical analysis” needed to profit from investments (p. 929).                       messages, emails, and other forms of communication, is another tactic
    Other cases identified relatives as having insider information and                  that may be used by an offender in hybrid investment frauds. In the
contacts within investment platforms. In one case, an offender with a                   cases where romantic relationships (albeit false) are cultivated between
female persona claimed to have an uncle that could obtain insider in-                   victim and offender, the offender rapidly professes their love for the
formation about trading (C59). In another case (C9), an offender named                  victim and discusses major life events with them, such as marriage and
Jessica told the victim that she had a godmother, who was “a purported                  children. In one case (C1), the offender professed her love for the victim
insider and analyst at an options trading firm,” and provided her with                  in less than 24 hours of initial contact. The purpose of the use of this
information that helped her successfully trade cryptocurrency options                   tactic is to create a connection with and dependency on the offender to
(p. 7). Apart from cases that revealed a familial connection, an offender               enable the offender to engage in manipulation and control tactics. In
from a case in our dataset (C25) claimed her best friend served as the                  one case of love bombing (C40), the offender immediately started to
Chief Financial Officer of the investment platform.                                     engage in love bombing through repeated flattery and the sending of
    In their study, Wang and Zhou (2023) found that fraudsters “appeal                  romantic messages. In another case (C2), one offender, who professed
to individual figures that have authoritative backgrounds, such as a                    love for the target only after two days of communicating, demanded
family member working in a financial sector or an investment mentor,                    that the victim delete the messages of the perpetrator and the link the
who either teaches fraudsters the investment skill or informs them how                  offender provided to the fraudulent investment application to prove
to earn quick money” (p. 929). These connections with ‘authoritative                    that the victim was dedicated to him, thus forcing a more intimate
figures’ help build trust in the offender, the platform, and the invest-                connection between the two, through a display of devotion.
ment process (Wang and Zhou, 2023).
    4.4.4.1.3. Fake supporting documentation. In the cases we gathered                  4.4.4.3. Threats. Offenders in our dataset used coercive measures to
for this study, we identified cases where offenders procured fake                       establish relationships and pressure victims to invest and provide
financial information and documents (including fake financial charts)                   additional funds to their original investments. When victims could no

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Table 5                                                                            spoofed websites also falsely claim to be award winning, affiliated with
Examples of types of taxes, fees, penalties, and other charges to withdraw         the legitimate cryptocurrency exchanges, U.S. Financial Crimes
funds.                                                                             Enforcement Network (FinCEN) compliant, and regulated by the
  account guarantee                                  risk deposit fee              “United Stated (sic) Money Services Business” (see, for example, C4,
  annual fee encumbrance                             risk verification fund        United States of America v. 5,012,294.90 in TetherUS et al., 2023).
  blockchain congestion                              security deposit                  With a few exceptions in our dataset, targets did not have prior
  capital verification                               service fee                   history, knowledge, or experience with the securities and commodities
  credit enhancement guarantee                       transfer funds
  expediting the withdrawal                          unfreeze account
                                                                                   investments promoted by the offenders. Our dataset included cases
  margin loan fee                                    verification                  where the investment promoted was liquidity pool mining, which is a
  management review                                  VIP member                    legitimate but complex trading process. This form of mining works as
  profit tax                                         withdrawal fee                follows:
  reflection fee                                     withdrawal processing
                                                                                      A liquidity pool is a crowdsourced pool of cryptocurrencies or to-
                                                                                      kens locked in a smart contract that is used to facilitate trades be-
longer invest funds and/or obtain the necessary amounts needed to pay                 tween the assets on a decentralized exchange (DEX). Instead of
fees, penalties, taxes and/or other charges (see Table 5), the victims                traditional markets of buyers and sellers, many decentralized fi-
were threatened with the loss of the entire amount of their investment,               nance (DeFi) platforms use automated market makers (AMMs),
further fees, freezing of their account, and/or criminal prosecution (i.e.,           which allow digital assets to be traded in an automatic and per-
for insider trading or money laundering). In one case with multiple                   missionless manner through the use of liquidity pools. Crypto li-
victims (C25), one of the victims, after seeing profits on the platform,              quidity providers are incentivized by earning trading fees and crypto
attempted to withdraw money from the account. A ‘representative’                      rewards (new cryptocurrencies which can in turn be traded for other
from the platform notified the victim that money could not be                         cryptocurrency or fiat currencies) (Seizure warrant, REACT Case
withdrawn. In particular, the victim was notified that his account was                #RT-2205–06106).
frozen because the platform believed that some of the transactions of
the victim might be illegal. The victim was informed that to lift the                  Victims’ limited knowledge of this form of investment was leveraged
freeze on the account he had to pay 15% of the amount in the account               by perpetrators to engage in hybrid investment fraud. In one case, the
to have the account reviewed. The victim was also informed that if he              perpetrator recommended a liquidity pool site, which “was a fraud site
did not pay this money his account would be terminated. Furthermore,               utilizing the brand of Allnodes, an established decentralized finance
the victim was informed that nonpayment would result in his                        platform provider” (C33; Sophos, 2023a). When the victim purchased
blocklisting and reporting to financial institutions and banks around              the ‘mining certificate’ that the offender suggested, the victim actually
the globe. In another case, an offender threatened to harm the victim’s            signed a smart contract that gave control of his wallet to the offender
consumer credit score (C9).                                                        (i.e., when he bought the ‘mining certificate,’ he clicked on a prompt
    Certain offenders who fostered relationships with victims engaged              from his Coinbase wallet app that did not clearly explain he was signing
in intimidation tactics, verbal abuse, blackmail, and threats of physical          over full access to his money). GASO (2021a) delineated how this was
violence and harm. In one case (C11), when the victim refused to pay               possible when they identified the Coinbase Wallet app flaw when
more money, the offender (who identified as ‘Emma’) became furious,                communicating with perpetrators engaging in hybrid investment fraud
attempted sextortion (i.e., threatening release of intimate messages and           and following their instructions:
images if remuneration not provided) and informed the victim that she                 While speaking with one of these ‘crypto mining’ scammers, I
hired people to kidnap and torture him and have his organs harvested.                 downloaded Coinbase Wallet and visited the scam site…With no
Similarly, in one case (C5), after investment payments were terminated,               money in my wallet, I pressed a button from within the Coinbase
the victim was harassed with threatening and sexually vulgar telephone                Wallet browser to join the mining pool, and just like that the scam
calls via Viber and Telegram, aimed at encouraging her to reinstate her               website attempted to initialize the smart contract. Since I had no
payments or to punish her for refusing to engage further. Such fear and               money in my wallet, I was informed that I didn’t have enough
intimidation are cited as common tactics used to coerce targets into                  money to join the pool. However, if I did have the required funds, a
complying with offenders’ demands (Buchanan and Whitty, 2013;                         smart contract would have been authorized by Coinbase Wallet
Carter, 2020; Lazarus et al., 2023).                                                  without my informed consent, leading me into one of these never-
                                                                                      ending subscriptions that could drain my wallet within a year, a
                                                                                      month, or even a day. This clearly is a just cause for
4.4.4.4. Tactics to obscure the fraud. There were several tactics used by
                                                                                      alarm…Coinbase must hand over an authentication key to the scam
offenders to obscure the fraud, making it harder for victims to identify
                                                                                      … [app] in order to initiate the contract, yet makes no mention of
the fraud. In most cases that involved cryptocurrencies, victims were
                                                                                      this to the user, nor asks the user to affirm their consent to hand over
directed to legitimate cryptocurrency exchanges (e.g., Binance,
                                                                                      this authentication key.
Bitstamp, Coinbase, Crypto.com, Gemini, Kraken, OKX, and Poloniex)
to create a cryptocurrency account, and then directed to investment                    Thus, perpetrators of hybrid investment fraud not only take ad-
apps and platforms controlled by offenders. The actions taken                      vantage of victims’ limited knowledge of trading processes by pro-
thereafter were designed to confuse targets and trick them into                    moting fraudulent investments based on real investment processes, but
providing offenders with control over the cryptocurrency account                   also exploit vulnerabilities in existing platforms and apps to surrepti-
and/or transferring money to accounts, platforms or apps controlled                tiously perpetrate the fraud.
by offenders.                                                                          Moreover, disinformation, misinformation, and conflicting in-
    One of the tactics identified in the dataset was domain spoofing,              formation online complicated victim’s efforts to identify the fraud.
which is used to trick targets into downloading apps and/or accessing              Some fraudulent websites and/or fraudulent information provided by
and using fraudulent websites designed and controlled by offenders.                the offenders is easier to identify than others. For example, a fraudulent
The spoofed website is designed to convince individuals that the site is           site identified in one of our cases (C39), Coinrule-web3, was covered by
legitimate and trustworthy, but it is actually a fake domain masquer-              a website in a ‘news story’ identifying the platform as a preferred fi-
ading as a legitimate domain. For example, the spoofed website, by-                nancial investment platform (Platte-Valley News Channel Nebraska,
bit.us, which the victim was directed to, mimicked the legitimate                  2023). While there were instances of victims conducting research to
cryptocurrency exchange site Bybit.com (C18). To appear authentic,                 determine if what was being presented was fraudulent, these

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individuals were unable to accurately identify the fraud for various               companies with names (e.g., HomeGoods LLC; C54) that would not be
reasons. For instance, a victim conducted online research after being              flagged as suspicious and would avoid drawing the attention of au-
asked to pay taxes when attempting to withdraw invested crypto-                    thorities; and to delete their social media account because it was not
currencies (C25); when the victim came across information that stated              ‘safe’ (C25). Offenders have also added false reasons for the receipt of
that the Chinese government requires 20% on any transactions, the                  funds and/or have created fake invoices to justify the receipt of funds
victim paid the ‘taxes.’                                                           from victims, such as claiming that payment was received for the sale of
    Further, offenders lied to conceal their true whereabouts and to               toys, electronics, or other goods (e.g., C54), among other reasons.
explain inconsistencies in their actions and stories. When perpetrators
were outside of the United States, such as those in Namibia, they op-              4.4.5. The fraud reveal
erated during specific times to account for the time difference with the               If the target cannot pay and/or refuses to provide any more funds,
U.S. to make it seem as if the offenders were in the same or close to the          communications between offender, target, and others involved in the
same time zone as the victim (C20). Additionally, to explain contacting            fraud cease (with few exceptions). Overall, the target does not recover
the victim from a different phone number, the offender claimed that his            some or all the funds (with few exceptions identified in the literature;
phone was hacked (C53).                                                            see (Farivar, 2023). Our dataset revealed that the fraud was identified
    Finally, the offender, who pretended to be the victim’s friend or in a         in a variety of ways. This stage is like GASO’s (n.d.) “killed” stage and
romantic relationship, would feign having similar experiences with                 FinCEN’s (2023) “point of no return” stage.
investment platforms, particularly when fees were required to with-
draw funds. Specifically, in hybrid investment fraud, to obtain as much            4.4.5.1. Conducted research. In certain cases, the fraud was identified after
money as possible from victims, they are asked to pay fees, penalties,             victims engaged in research. For example, one victim discovered the fraud
taxes and/or other charges when they attempt to withdraw investment                after contacting Sophos (a cybersecurity company) and reviewing an article
funds. One victim in a case with multiple victims (C25), contacted an              published by them on liquidity mining (C33). The victim was informed that
offender (the person who he fostered a relationship with) to discuss the           he was a victim of fraud and was told to block and cease communications
fees the representative of the platform told him about. The offender               with the perpetrators. Other victims conducted research after either
substantiated the representative’s claim by falsely claiming that when             experiencing a negative consequence (e.g., being unable to withdraw
her account was supposedly more than $10,000,000 USD, she was in-                  money and/or being told money was needed to make withdrawal) or
formed that she had to pay $1.8 million USD to unfreeze the account.               after an organization or agency informed them of potential fraudulent
The offender also falsely stated that she was able to unfreeze her ac-             transactions. After being told by a customer service representative of the
count and access her funds after making the payment. Another offender              platform he was using to provide $1.5 million USD to withdraw his money,
who targeted a different victim in this case went so far as to provide a           a victim searched online and found a U.S. Federal Bureau of Investigation
screenshot from the Chief Financial Officer of the (fraudulent) platform           (FBI) alert for this fraud (C51).
that would guarantee that the victim would be able to withdraw their
funds if a final verification fee was paid. However, after paying this fee,        4.4.5.2. Family members, friends, and coworkers. Several of the victims
the victim was asked to pay another $50,000 USD for a blockchain                   in our dataset were alerted to the fraud by friends and families. For
congestion fee, and after paying that fee was asked for another                    example, in one case (C25), a victim realized it was a fraud when he
$100,000 USD to become a VIP member of the platform. Once this                     sought a home equity loan to pay taxes and his family questioned his
payment was made, the victim was notified that the withdrawal was                  investment. In another case (C26), a friend informed a victim of hybrid
successful but never received any funds and the offender and the                   investment fraud after the victim shared information about her
platform could not be reached.                                                     relationship with the offender (C26). Coworkers questioned another
                                                                                   victim when she liquated her 401k (C28).
4.4.4.5. OPSEC measures. The offenders engaged in operational                          Further, in one case, the fraud was revealed by a husband who formed a
security (OPSEC) measures to make it more difficult to identify,                   remote romantic relationship with a woman who encouraged him to leave
investigate, and prosecute them. To make it harder to trace stolen                 his wife during their ‘relationship’(C39). The woman convinced him to li-
cryptocurrency, offenders would transfer it to multiple “private wallets           quidate his joint investments with his wife to invest more than $9 million
and swapping services” (U.S. Attorney’s Office, Eastern District of                USD in cryptocurrency investments (Krasilnikova, 2023). This fraud was
Virginia, 2022). In one case (C15), proceeds were commingled and                   revealed when the husband contacted his wife to liquidate the remaining
deposited into numerous accounts. In another case with multiple                    assets to pay the requested ‘fee’ needed to withdraw his profits.
victims, the stolen funds from one victim “were swapped from BTC to
USDT using imToken and Tokenlon. The USDT was consolidated into                    4.4.5.3. Government agencies and banks. A few victims realized they
wallet address and then rapidly transferred into and out of multiple               were the target of fraud when they contacted government authorities.
intermediary wallet addresses, where they were commingled with other               For instance, in one case with multiple victims (C25), when one victim
funds” (C25; In the Matter of Application by the United States for                 sought to withdraw money from their account, he was informed by the
Seizure Warrant, 2022). This process is known as “chain hopping,”                  platform that taxes needed to be paid according to the IRS Blockchain
where “the holder of cryptocurrency converts it from one from [sic] of             Technology Cryptocurrency Authority. The victim contacted the US
cryptocurrency to another—for instance, converting Bitcoin to                      Internal Revenue Service and asked about the IRS Blockchain
Ethereum. When cryptocurrency is converted, it can make it harder                  Technology Cryptocurrency Authority but was informed that no such
to trace because it will often result in the currency being moved onto a           agency exists. Nonetheless, our dataset did not reveal that taxes were
separate blockchain ledger” (C4; United States of America v.                       questioned by all victims. In one case (C6), a purported customer
5,012,294.90 in TetherUS et al., 2023, p. 28).                                     service agent informed the victim that before a withdrawal is made a
    To protect their identities, our dataset revealed that offenders               25% tax must be paid to the International Tax Bureau (a bureau that
opened bank and cryptocurrency accounts using false names. For ex-                 does not exist). In another case, a bank manager informed a victim of
ample, in United States of America v. Jin Hua Zhang, et al. (2022),                the fraudulent scheme when the victim went to the bank to wire money
forged Chinese passports and other individuals’ identification docu-               to an account the offender provided (C54).
ments were used to conceal offenders’ identities (C17). To cover their
tracks, offenders have also instructed victims to delete messages be-              4.4.5.4. Cryptocurrency exchanges. Certain victims in our dataset
tween them (C2); to conceal the reason for wire transfers by writing               identified the fraud after reporting issues with withdrawing their
‘other’ in the reasons for the transfer (C3) or sending the wires to               funds to cryptocurrency exchanges and/or regulatory agencies. For

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instance, one victim learned of the fraud when the victim reported                  victim’s San Francisco home. When the victim similarly received
being unable to withdraw funds to Coinbase and Bitstamp. Crypto.com                 multiple messages from other Asian men asking to see the San
reached out to one victim to inform them of unusual transactions linked             Francisco property, the victim told the perpetrator about this odd
to frauds. Particularly, Crypto.com flagged some of the victim’s                    occurrence. The perpetrator responded angrily and accused the victim
transactions as being linked to wallet addresses associated with fraud              of cheating to divert attention away from this incident.
and asked the victim to review the transactions (C8). Following this                    In the other case (C32), the offender (who used the persona of a Chinese
notification, the victim conducted online research and found a fraud                woman named ‘Hui Hui’) reached out to the victim via social media. While
alert by the California Department of Financial Protection and                      the chat began friendly, it then turned romantic. While communicating with
Innovation for the platform the victim was using.                                   Hui Hui and investing $18,000 USD of his funds, the victim was also con-
                                                                                    tacted by another Chinese woman named ‘Lydia’ on social media and
4.4.5.5. Customer service issues and multiple fees requested for withdrawals        formed a friendship. The victim expressed suspicions to Lydia about the
of funds. Some victims identified the fraud because of the various                  money he invested with Hui Hui. Lydia informed him of another crypto-
excuses given as to why payment of funds could not be made as well as               currency investment opportunity after three months of communicating. He
the new fees that were requested for withdrawals each time a fee was                invested $20,000 USD into the second investment opportunity. After
paid, and a request was made for payment. One victim was asked to pay               learning he could easily withdraw money from the second investment
a “risk deposit” fee after requesting to withdraw a portion of his funds.           platform, he decided to invest more money. When he attempted to with-
Once this was paid, he attempted to withdraw the money, only to be                  draw his money from the first platform, he was told he had to pay a
asked to pay another fee. Following this new request for money, he                  $132,000 USD penalty. Following his failed attempt to withdraw funds from
realized he was a victim of fraud (C54). Another victim realized that she           the first investment platform, he tried to withdraw funds from the second
was a victim of fraud when she was informed that she could not                      platform. The second platform also informed him that he must pay a
withdraw her money without paying taxes, which could not be                         $50,000 USD penalty. After these failed attempts, he realized he was a
deducted from the gains in her account (C14).                                       victim of fraud by both offenders.
                                                                                        In the third case (C25), in March 2022, the victim was contacted by
4.4.5.6. Offenders stop communicating with the victims and/or the                   someone named ‘Eden Lin’ on LinkedIn and developed a friendship.
fraudulent app or website disappears. In most of our cases, when                    While the victim was sick with COVID-19, the offender introduced her
offenders receive a substantial sum, the target sum, and/or the victim              to future trading and encouraged her to invest her cryptocurrency,
can no longer pay and/or no longer wants to pay fees and is requesting              money from her bank account, and money from liquidated retirement
their funds, the offenders and associates (in the form of customer                  accounts to mcus.me. When attempting to withdraw funds from her
service and other representatives of the fraudulent platforms)                      investment, she was informed her account was frozen and a deposit of
eventually “ghost” the victims by becoming non-responsive and                       $293,000 USD was needed to reactivate her account. After notifying the
abruptly ceasing communications. After paying several fees when                     offender that she was only able to raise $80,000 USD, she was in-
attempting to withdraw funds and being unsuccessful each time, the                  structed to wire transfer those funds to him. After sending the wire
representative of the fraudulent platform becomes unreachable. In such              transfer, the mcus.us site was no longer accessible, and the offender
cases, the listed fees and the payment amount that is reached before                stopped responding to her communications. In May 2022, the same
communications between representatives of the fraudulent platform                   victim was engaged by someone named ‘Zelin Wang,’ who purportedly
and the victim cease varied by case. For instance, after wire transferring          needed advice with launching a company. After forming a friendship,
fee money to the offender, the offender immediately stopped                         the offender introduced the victim to Top Tank, where she invested
communicating with the victim and the fraudulent site disappeared                   $40,000 USD. When she attempted to withdraw funds, her account was
(C54). In most of the cases in our dataset, the offender(s) that initiated          “frozen” and she was informed she had to pay $60,000 USD to unfreeze
contact with the victim and fostered a relationship with the victim also            her account and withdraw her money. The victim was unable to recover
became unreachable around the same time. In only one case did we                    funds from either site. Likewise, another victim was targeted in two
identify a perpetrator who “revel[ed] in unveiling the financial — and              separate incidents by offenders identifying as women (“Unity/
emotional — deception” to the victim (C36; Podkul, 2022).                           Sakurako” and “Emma/Annie Catherine”) (C16).
                                                                                        Barring further details in these cases to show connections between
4.4.6. Important outliers and deviations from known offender patterns               perpetrators, the second hybrid investment fraud attempt could be al-
4.4.6.1. Video calling as a confidence building measure. Our dataset                ternatively interpreted as instances of what Button and Cross (Button
included cases where the offenders agreed to engage in a video call                 and Cross, 2017) termed as recovery fraud, where victims experience
with the victims.                                                                   revictimization.
    The public is often warned to be wary of individuals who they meet
online who refuse to either meet in person and/or engage in video calls             4.4.6.3. Private and financial information. One victim provided personal
(FINRA, 2022). While we only identified a few cases in our dataset                  information to open an account, and after he was denied, he was told he
where offenders’ video called victims, this is an important finding as              would need to submit a copy of his driver’s license and passport (C55).
victims identified this action as a confidence building measure in the              Other victims were told to upload driver’s licenses to platforms for
relationship and investments. Video chats were also used to share in-               verification reasons (C21), asked to provide driver’s license and bank
formation to build victims’ confidence in the investment. For example,              information (C25), and bank statements and “confidential, personally
in one case (C54), the offender showed the victim statements to sub-                identifying information” (C9). The provision of this information exposes
stantiate her claims of millions in earnings in a video call. Nevertheless,         the victims to further forms of fraud, including identity theft and other
we also identified cases in our dataset where perpetrators refused video            forms of fraud. Government consumer protection alerts include warnings to
calls and in person meetings for different reasons.                                 victims to avoid sharing personal and financial information with strangers
                                                                                    and online apps, platforms, and/or sites that cannot be authenticated (e.g.,
4.4.6.2. More than one offender targeted the same victim. A few cases in            State of Michigan Attorney General, n.d.; FTC, n.d.; Federal Deposit
our dataset revealed that the same victim was targeted by more than                 Insurance Corporation FDIC, 2021; U.S. Department of Justice, 2023).
one offender, who may or may not have been working together (from
available information, this connection could not be established). For               4.4.6.4. Money requested for emergency. In one case in our dataset
example, in one case (C2), the victim was contacted by the perpetrator              (C45), which involved various frauds perpetrated by the offender, one
(claiming to be Hao William Yang), who was interested in viewing the                of which was a specific form of hybrid investment fraud - romance

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baiting, the offender sought money from one victim for an emergency.                    included wire fraud, bank fraud, money laundering, unlicensed money
This finding conflicts with the understanding that the “request for                     transmitting business, conspiracy to commit wire fraud, bank fraud
money is not attributed to an emergency” in romance baiting (Cross,                     conspiracy, and conspiracy to commit money laundering.
2023, p. 5). The fraud in the case began as a traditional romance fraud,
and then turned into a cryptocurrency investment fraud. The sequence                    5. Limitations
of events of the fraud were as follows:
                                                                                            A main limitation of our study is the number of identified hybrid
 • the victim and offender developed a purely online relationship;                      investment fraud cases. We encountered significant difficulties in
 • the offender asks for assistance in purchasing medical equipment                     identifying these cases. The colloquial term of ‘pig butchering’ was not
     with the understanding that the victim would be reimbursed;                        always used. Also, various terms were used in cases and news articles to
 • the victim sends the money;                                                          describe hybrid investment fraud, including romance baiting, cryp-
 • the offender claims to be injured and in need of money for medical                   torom scams, cryptocurrency investment scheme, cryptocurrency
     bills;                                                                             scams, crypto catfishing, cryptocurrency confidence schemes, and
 • the victim sends the money;                                                          cryptocurrency confidence scams. The inconsistent terms used to de-
 • documents
         7
               are used to support the offender’s claims and a ‘third                   scribe hybrid investment fraud made the identification of these cases
   party’ reaches out to make stories of the offender more believable                   extremely difficult. What is more, many of these terms are limiting, and
   to obtain even more money from the victim (i.e., pretended to be a                   exclude other cases of hybrid investment fraud. Specifically, the lim-
   doctor, sent a purported photo of the victim on a hospital bed, and                  itation of these terms to romance and cryptocurrencies omits cases
   requested money for the victim);                                                     where other forms of relationships were sought and other forms of in-
 • the offender states that she will reimburse the victim and provides                  vestments. Furthermore, cases were difficult to identify as information
   an excuse as to why this reimbursement is not possible (i.e., the                    about hybrid investment fraud was scattered over various news articles
   victim’s bank would not accept the money);                                           and administrative, civil and/or criminal court documents.
 • the offender offers to invest the victim’s money in a cryptocurrency                     Our sample is not a representative sample of all hybrid investment
   investment platform known as Alphacoin Lab so the victim could                       fraud cases in the United States. Our sample also could not draw on
   obtain the funds;                                                                    existing crime measurement tools as they do not report hybrid invest-
 • the offender sets up an account for the victim on this platform;                     ment fraud. For this reason, we reiterate the sentiment expressed in
 • several representatives of this cryptocurrency exchange email the                    Lazarus et al.’s (2023) systematic review that more diverse data is
   victim and message the victim via WhatsApp;                                          needed and extend this perspective to news coverage, arguing that
 • the victim is informed that he could withdraw the funds after paying                 more diverse cases from a wider regional and global range must appear
   taxes and fees on the funds via wire transfer; and                                   in the news along with more rich empirical data to fully understand the
 • the victim wire transfers the taxes and fees.                                        nature and extent of hybrid investment fraud. We followed a similar
                                                                                        exploratory approach, the analysis of court documents and news arti-
   Ultimately, after paying taxes and fees, the victim was unable to                    cles, which has been used to study other forms of crime (e.g., Arsovska
withdraw the funds.                                                                     and Temple, 2016; Button and Cross, 2017; Maras and Arsovska, 2023).
                                                                                        The content in private legal databases is constantly updated. The
4.4.6.5. NFTs. The limited literature on hybrid investment fraud                        number of cases we identified were dependent on the dates in which we
predominantly focuses on cryptocurrency investments, and to a lesser                    conducted the search, our search process, the terms we used, the pro-
extent gold. While our research likewise predominantly identified                       cess we used to exclude cases from our dataset, the information avail-
frauds involving the cryptocurrency trade, and to a lesser extent gold,                 able in the documents, and the time period of the search.8 By trian-
we also identified a case that involved the trade of non-fungible tokens                gulating our sources, we were able to identify the elements of hybrid
(NFTs). Specifically, our dataset included one case where a victim was                  investment fraud, victims of this fraud, and the tactics, tools, targets,
conned into investing in NFTs via a fraudulent trade website (C54).                     and methods of operation of offenders. Our exploratory research cov-
                                                                                        ered an understudied topic and filled an important gap in academic
4.4.6.6. Artificial intelligence and ChatGPT. One case in our dataset                   literature.
involved a victim who contacted Sophos to report a hybrid investment
fraud that involved the use of an artificial intelligence (AI) based tool,              6. Conclusion
like ChatGPT (C38). The victim connected with the offender when using
Tandem, a language app that has been used as a dating app. After the                        Our research revealed that existing fraud typologies, which were
communications between victim and offender moved to WhatsApp, “[t]                      designed to clarify differences between various forms of fraud and serve
he victim became suspicious after he received a lengthy message that                    as a comprehensive inventory of all types of fraud, do not adequately
was clearly partly written by an AI chat tool using a large language                    address the evolution of fraud, particularly hybrid fraud. Hybrid fraud,
model (LLM)” (C38; Pawaon, 2023). The use of pre-written scripts for                    like hybrid investment fraud, combines tactics, tools, and methods of
hybrid investment fraud is consistent with the findings of Wang and                     operation from different forms of fraud. Perpetrators of this fraud take
Zhou (2023).                                                                            operational security measures to evade detection, investigation, and
                                                                                        prosecution, and engage in tactics to obscure the fraud. Hybrid fraud is
4.4.7. Responses to hybrid investment fraud                                             a complex phenomenon with devastating psychological, social, and fi-
    The cases in our dataset revealed that U.S. authorities have taken                  nancial impacts.
several measures to respond to hybrid investment fraud, including civil                     Our research revealed offenders prey on people’s desire for com-
forfeiture and other civil actions against offenders and companies;                     panionship and seek to gain victims’ confidence and trust by creating an
seizing spoofed domains; administrative cease and desist orders; seizing                illusion of credibility and success, using images of attractive people,
financial accounts and cryptocurrency wallets; and arresting offenders.
For the offenders criminally charged, the most common charges
                                                                                          8
                                                                                            For example, even when two researchers conducted the search separately
                                                                                        on the same day at the same time using the same criteria on NexisUni, the
 7
    This may not actually be a third party. It can be the offender pretending to        number of results returned varied (after clearing cache and running the same
be another party.                                                                       search in the same order, our search returned the same results).

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promoting extravagant lifestyles, and claiming expertise in trading and                                   record amounts to crypto fraudster (NexisUni database). MailOnline, July 31, 2023.
investment knowledge to lure people first into fake connections and/or                                    https://advance-lexis-com.ez.lib.jjay.cuny.edu/api/document?collection=news&
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relationships and then fraudulent investment schemes. While many                                          (Accessed 13 February 2024).
cases did involve the fostering of romantic relationships between vic-                               Arsovska, J., Temple, M., 2016. Organizational learning, adaptation, and rationality: The
tims and offenders and investments in cryptocurrencies, there were                                        expansion of Albanian organized crime in New York City. Crime, Law and Social
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cases where relationships were not romantic in nature (i.e., friendship)                             Australian Competition and Consumer Commission, 2023. Targeting scams: report of the
and involved investments in gold and NFTs. The offenders used per-                                        ACCC on scams activity 2022. https://www.accc.gov.au/about-us/publications/se-
suasive language, a sense of urgency, and confidence building and                                         rial-publications/targeting-scams-report-on-scams-activity/targeting-scamsreport-of-
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coercive measures to pressure victims to invest and provide additional                               Bartlett, S., 2023. Woman says she was victim of 'pig butchering' dating scam -and lost
funds to their original investments. The tactics used are designed to                                     £360k. (NexiusUi database). The Daily Star. https://www.dailystar.co.uk/love-sex/
‘drain’ victims of their funds to obtain as much money from them as                                       woman-says-victim-pig-butchering-30024018?utm_source=mynewsassistant.com&
                                                                                                          utm_medium=referral&utm_campaign=embedded_search_item_desktop [provided
possible, often recommending that the victims obtain loans, liquidate
                                                                                                          on NexisUni by Daily Star].
savings and retirement funds, and reach out to family and friends for                                Beals, M., DeLiema, M., Deevy, M., 2015. Framework for a Taxonomy of Fraud. Stanf.
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victims and their experiences and does not adequately capture the                                    Brian Hoop v. Emma Doe and John Does I-XX, and 177.7621 ETHER, and MEXC GLOBAL,
multifaceted nature and the ultimate goal of this fraud. Our research                                     LLC. Compliant Case 4:23-cv-00185-SMR-HCA (U.S. District Court for the Southern
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advanced knowledge in the field by shedding light on the understudied                                Buchanan, T., Whitty, M.T., 2013. The online dating romance scam: Causes and con-
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news, and cases, particularly the use of the word ‘hybrid’ to describe                                    org/10.4324/9781315679877
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of fraud. Moreover, we aim to stimulate future research on this topic                                CE Noticias Financieras English, 2022a. Dating apps, the new target of crypto-scammers:
and encourage the modification of existing fraud typologies to capture                                    how to protect yourself from crime (NexisUni database). 23 February 2022. https://
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‘Pig butchering’ crypto scam: Americans taking their lives after
losing savings to international criminal gangs
   cnn.com/2024/06/17/asia/pig-butchering-scam-southeast-asia-dst-intl-hnk/index.html

By Teele Rebane and Ivan Watson, CNN                                                            June 17, 2024


Editor’s note: If you or someone you know is struggling with suicidal thoughts or mental health
matters, please call the 988 Suicide & Crisis Lifeline in the US by dialing 988 to connect with a trained
counselor, or visit the 988 Lifeline website. For support outside of the US, a worldwide directory of
resources and international hotlines is provided by the International Association for Suicide Prevention.
You can also turn to Befrienders Worldwide.

CNN —

Sitting at the kitchen table, Matt struggles to recount the events of the past few months. “As soon as I
found out that it was a suicide, I was 100% sure that it was the scam,” he says.

“Our father was, from the day I was born until six months ago, always a positive, happy person. This
was literally the only thing in his life that had happened, to where it changed him, and it just crushed
him.”

On a horse farm in northern Virginia, surrounded by sprawling fields and stables, the family gathers at
their younger sister Adrianne’s house - something they’ve done a lot in the three months since their
father took his own life after falling victim to a so-called “pig butchering” scam.




Loving father Dennis Jones, 82, withdrew from his family and after he befriended a woman going by
the name Jessie on Facebook.



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CNN
The scams – mostly run out of Southeast Asia - are given that name because they involve “fattening
up” victims before taking everything they have. The con artists behind them take on false online
identities and spend months financially grooming their victims to get them to invest on fraudulent
cryptocurrency websites.

Dennis Jones, an avid runner and photographer, was adored by his children and grandchildren.
Described as “a bit of an activist” by his family, the 82-year-old spent much of his retirement working
with refugees and debating politics online. But in the last few months of his life he withdrew from his
family and, having been divorced for years, befriended a woman going by the name Jessie on
Facebook.

The two had been talking online for months and built a close relationship. Eventually, Jessie convinced
Dennis to invest in crypto.

Dennis complied. Without ever meeting Jessie in person, he spent everything he had, and when he
had nothing left, she demanded more. Until one day the money disappeared, leaving him in ruin.

In early March, Dennis’ children scheduled a meeting to help their father get back on his feet after the
scam. The plan was for him to move in with Adrianne and her family. “We wanted him to know that he
was going to be taken care of,” Matt said.




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Matt and Adrianne lost their father Dennis to suicide in March after he fell victim to a cryptocurrency
investment scam.

CNN/Chris Turner and Amanda Swinhart




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But the morning of the meeting none of them could reach Dennis. Matt drove to Dennis’s apartment but
he wasn’t home, and all calls went straight to voicemail. They figured he must be out on one of his long
runs. An hour later, police knocked on Matt’s door to inform him that Dennis had taken his own life.

Dennis was one of countless victims of a massive global criminal operation predominantly run by
Chinese gangs who have built a multibillion-dollar scam industry in Southeast Asia. There, they’ve
assembled an army of scammers, many held against their will in guarded compounds and forced to
con people all around the world out of their life savings.

It’s theft at a scale so large that investigators are now calling it a mass transfer of wealth from middle-
class Americans to criminal gangs. Last year, the FBI estimates, pig butchering scams stole nearly $4
billion from tens of thousands of American victims, a 53% increase from the year before.

While the crime takes place online, its real-world consequences are devastating. Law enforcement
sources predict that losses will continue to grow in the next year, and as the criminals remain out of
reach, money and lives will continue to be lost.




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Dennis grew desperate as he struggled with the financial and emotional impact of the scam.

CNN


‘Victims victimizing victims’
Santa Clara county prosecutor Erin West has dedicated the last few years to fighting pig butchering
scams. “I’ve been a prosecutor for over 25 years, I’ve done all kinds of different types of crime. I spent
nine years in sexual assault. And I’ve never seen the absolute decimation of people that I’ve seen as a
result of pig butchering,” she says.



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Being in the heart of the tech industry in California’s Bay Area, Erin and her team were some of the first
to begin investigating pig butchering scams. “We’ve got victims victimizing victims and the only winners
are Chinese gangsters,” she says.

Shawn Bradstreet, US Secret Service special agent in charge of the San Francisco field office, told
CNN that some of the money stolen from American victims is spent on expanding the scam operations
and the massive compounds that house them and other illicit activities.




Santa Clara county prosecutor Erin West is part of a small group of US law enforcement
agents working to find ways to tackle pig butchering scams.

Jim Castel/CNN
West and Bradstreet are part of a small group of US law enforcement agencies working to find ways to
tackle a crime that largely takes place online and overseas.

Social media is flooded with scammers hunting for victims, on WhatsApp, Facebook, LinkedIn and,
increasingly, dating apps such as Bumble and Tinder.

“The unfortunate reality is that scammers may pull on the heartstrings on those looking for love or
connection - on dating apps and on all online platforms,” a spokesman for Match group, which owns
Tinder, said in a statement.

Match, Bumble, Facebook and Whatsapp parent company Meta told CNN they are working to prevent
scammers from using their platforms, by flagging suspicious language and educating their users. In a
statement to CNN a Bumble spokesperson said they have introduced AI to help identify spam, scam
and fake profiles “aiming to take action before such profiles have the opportunity to interact with
members.” CNN has reached out to LinkedIn for comment.




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In May, a group of tech companies including cryptocurrency exchange platform Coinbase, Meta, Match
group and the anti-scam charity organization GASO announced the “Tech Against Scams Coalition,”
acknowledging that scams “are a pervasive issue across the entire tech landscape.”

'PIG BUTCHERING' A sophisticated criminal network is using
modern-day slaves to con Americans out of their life savings

But West says that’s not enough. She recently set up a task force
called Operation Shamrock to bring together law enforcement, social
media, crypto exchanges and traditional banks to tackle crypto
scams.

A 2023 CNN investigation revealed that many of the scammers are themselves victims of human
trafficking. Lured to Southeast Asia with promises of white-collar jobs, they are instead trafficked into
Myanmar, Cambodia, Laos and other destinations. Since a 2021 military coup, Myanmar has become
Asia’s scam capital where criminals can operate freely under the cover of a bloody civil war.

Today, city-sized compounds loom over the Myanmar side of the border with Thailand, with nothing but
a dried-out river separating the two countries. Inside are what can only be described as scam factories
— offices full of hundreds of slaves, working 16-hour days to befriend victims and convince them to
invest in cryptocurrency on fake platforms that mimic legitimate crypto exchanges.

Those kept inside tell stories of torture and abuse, of scammers who don’t bring in enough money
being beaten with electrical sticks and forced to do hundreds of squats as punishment.




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In November 2023, CNN visited the Thai-Myanmar border region where dozens of city-sized
compounds loom over the Myanmar side.



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CNN/Tom Booth

Rakesh, an Indian national, was trafficked to a compound called Gate 25 in Myanmar after applying for
an IT job in Thailand in late 2022. There he signed a scamming contract under threat of execution, and
was trained to scam.


They (were) treating us like slaves.

Rakesh, trafficking victim

For 11 months he posed as “Klara Semonov,” a Russian investor based in Salt Lake City. To avoid
gruesome punishments inflicted by his captors, he said he sent romantic messages to victims like
Dennis to convince them to invest their money. “Seventy to 80% fall for fake love,” he said.

Rakesh was eventually released in 2023 when his contract ended. He believes he was let go because
he simply wasn’t good enough at scamming. “They (were) treating us like slaves,” he told CNN days
after his release in 2023.

Conveniently located on the border, the compounds use telecoms services from the Thai side. In
November 2023 Thai Justice Minister Tawee Sodsong said they were working to cut off the
compounds.




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Rakesh spent 11 months forced to work against his will at a scam compound in Myanmar, posing to
potential victims as a US-based Russian investor.

CNN/Tom Booth




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Pachara Naripthaphan of the Thai National Broadcasting Transmissions Commission has since told
CNN that in May they instructed all telecom operators to shut off wireless services in proximity to any
areas bordering Myanmar, Laos or Cambodia. Despite that, their data shows that illicit activity has
continued at a baseline level as criminals adjust to using other means of connecting to the internet
such as Starlink.

Even here on the border, where the physical distance is reduced to nothing but a narrow river, the
criminals remain out of the reach of law enforcement, either locally or internationally.

“Many of these perpetrators are beyond my reach. And in order to establish deterrence, we need to
prosecute some individuals who are running these operations in Southeast Asia,” Santa Clara district
attorney Jeff Rosen says.

According to FBI data, out of nearly $5 billion dollars lost to cryptocurrency fraud in 2023, $3.96 billion
was stolen in pig butchering scams. While Rosen’s office and the Secret Service have had some
success in retrieving millions of dollars in stolen funds, no American law enforcement agency has been
able to arrest a single suspected scammer.


‘Hard to believe’
Carina, who asked CNN to only use her first name, met “Evan” on Bumble in May 2023. His photos
showed a blond man with piercing blue eyes. He claimed to be Dutch and showed off his wealth —
expensive cars and Rolexes, though none of that appealed to Carina, a chemistry PhD and triathlete.

Their relationship moved fast. Right away he suggested they move their conversation to WhatsApp
and delete the Bumble app to focus on getting to know each other. A few days later he started calling
her “honey.”

“We’re doing that already?” Carina asked, in a text conversation seen by CNN.




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Carina met her scammer “Evan Van” on the dating app Bumble.

Jim Castel/CNN
Evan claimed he had made his money running a company with his uncle and investing in crypto. He
told her she could pay off her student loans in a matter of months by investing. Carina was hesitant at
first but eventually agreed to put in $1,000.

He told her not to use the official app of the Kraken crypto platform, and instead sent her a link to a
parallel website which they used to trade in the coming months.

As their investments grew, so did their relationship. The two made plans for the future, romantic
weekend getaways and family introductions, though they were yet to meet in person. “I’ve never met
anyone like you before. Hard to believe I’m falling for a man I have never seen or spoken to,” Carina
told him just a few weeks in.

The first red flag emerged when Evan pressured Carina to enter an “event” where she would have to
invest $150,000 by the end of July to make extra profit. If she failed to reach the target, her account
and money would be frozen.

Scared to lose the money she had already put in, Carina panicked. She took out a high-interest loan
and borrowed money from friends and family to meet the deadline.

Despite all his purported wealth, Evan refused to help her, instead lying and telling her he was
struggling to meet his target of $500,000 and needed her help, she said. At one point, Carina found
herself consoling her scammer, telling him the money didn’t matter as long as they loved each other.




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Carina spent hours every day chatting and falling in love with her scammer "Evan."

CNN/Jim Castel

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‘Major psychological stunt’
After Dennis took his life, his adult children were left piecing together what happened by going through
his Facebook messages. There, they learned for the first time what Dennis had been dealing with.

“I have been having dark thoughts about my life and it being over. Certainly it looks like my financial life
is done,” Dennis messaged his scammer in the months before his death. “And the ultimate pain here is
that I have betrayed family trust. This is unbearable,” he writes in screenshots of their conversation
seen by CNN.

“What’s most heartbreaking is reading through these messages. He was talking about having signs of
a nervous breakdown. And so these were all shared with the profile,” Adrianne says.

“Instead of sharing with us,” Matt adds.

“What’s amazing here is that these scammers overseas have figured out a way that they can get
victims to trust them over their own families,” West says. “It’s a major psychological stunt that they’re
pulling on the rest of the world.”


It was all fake. It was a fake profile. It was a fake story.

Carina, scam victim

Carina didn’t tell her family about what had happened and the stress she was under until the very final
moment. After hitting their event targets, Carina tried to withdraw some of her money, but was unable
to do so, having violated platform rules by investing in the same account as Evan. After months of
hiding it, Carina told her family, who suggested she speak to Kraken directly.

How to get help

Help is available if you or someone you know is struggling with suicidal thoughts or mental health
matters.
In the US: Call or text 988, the Suicide & Crisis Lifeline.
Globally: The International Association for Suicide Prevention and Befrienders Worldwide have contact
information for crisis centers around the world.

The next morning she called Kraken customer services, who informed her there was no account under
her name.

“I realized I had been scammed at that point. And I broke down,” Carina says. “It was all fake. It was a
fake profile. It was a fake story. The amount of time that he spent grooming and getting to know me
was incessant.”

Reading through their conversations a year later, Carina barely recognizes herself. “It’s actually
heartbreaking for me to see the state that I was in,” she says.

The emotional and financial entanglement had taken a toll on her, and she was left reeling from a
breakup and bankruptcy at the same time.



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In the aftermath, Carina had to move back in with her mother. It will take her at least a decade to repay
her debts.


‘Playing on emotions’
Their grief still raw, Adrianne and Matt are only now starting to understand what happened to their
father.

“He wasn’t up against one person. It’s a multibillion-dollar criminal organization with a playbook that’s
playing on the emotions … It was almost like he was brainwashed to some extent,” Dennis’ daughter
Adrianne says.

As the criminals’ tactics continue to evolve and law enforcement struggles to find a way to stop them,
there will be more victims in 2024, and more people like Matt and Adrianne, who suffer a loss far
greater than money.

“He died embarrassed, ashamed, financially devastated, heartbroken. And if sharing our story helps
somebody else or another family, then it’s worth it,” Adrianne says.

If you think you are a victim of a cyber scam the FBI recommends you report to the Internet Crime
Complaint Center (IC3) at https://www.ic3.gov/Home/ComplaintChoice

This story has been updated.

CNN’s Kocha Olarn in Bangkok contributed to this report




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